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 7                                UNITED STATES DISTRICT COURT

 8                          WESTERN DISTRICT OF WASHINGTON AT SEATTLE

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     ALVIN GREENBERG, MICHAEL STEINBERG,             Case No. 2:21-cv-00898-RSL
10   JULIE HANSON, CHRISTINA KING, and
     RONNELL ROBERTSON, on behalf of themselves      SECOND AMENDED CLASS ACTION
11
     and all others similarly situated,              COMPLAINT
12
                                       Plaintiffs,
13                                                   JURY TRIAL DEMANDED
              v.
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     AMAZON.COM, INC., a Delaware corporation,
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16                                    Defendant.

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     SECOND AMENDED CLASS ACTION COMPLAINT
     010923-11/2753066 V1
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     SECOND AMENDED CLASS ACTION COMPLAINT – ii
     010923-11/2753066 V1
 1            For their Second Amended Class Action Complaint against Defendant Amazon.com, Inc.

 2   (“Amazon”), Plaintiffs Alvin Greenberg, Michael Steinberg, Julie Hanson, Christina King, and

 3   Ronnell Robertson, on their own behalf and on behalf of all others similarly situated, allege as follows:

 4                                          I.     INTRODUCTION
 5            1.       With this action, Plaintiffs seek to hold Amazon accountable for its unlawful price

 6   gouging during the COVID-19 pandemic. As Amazon announced on its website on March 23, 2020,

 7   “Price gouging has no place in our stores.”1 And as the Washington Supreme Court held on August 8,

 8   2024, price gouging is not allowed under Washington’s Consumer Protection Laws. 2 This lawsuit

 9   seeks to hold Amazon accountable for price gouging.

10            2.       Throughout the pandemic, consumers turned increasingly to online retailers, and

11   Amazon in particular, to fulfill their essential needs. With medical experts warning about the ease of

12   infection in public settings, and “stay home” orders prevailing in most parts of the country, consumers

13   recognized during the pandemic that retail excursions can have perilous consequences for themselves

14   or loved ones, no matter what precautions are taken. In that moment, Amazon’s services were essential.

15   Without venturing into public and risking exposure, and under emergency stay-at-home orders, and

16   with just a few clicks, Americans could purchase a wide range of consumer goods from Amazon that

17   would be delivered directly to their homes.

18            3.       Amazon’s sales have never been higher, and since the COVID-19 pandemic began, its
19   sales in some categories (e.g., home items) increased more than 1,000 percent.3 Correspondingly,

20   Amazon’s profits have skyrocketed. Jeff Bezos’s personal wealth increased by $75 billion (or

21   approximately $205 million per day) in 2020.4

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23   1
         Amazon, “Price gouging has no place in our stores,” ABOUTAMAZON.COM (Mar. 23, 2020),
24       https://www.aboutamazon.com/news/company-news/price-gouging-has-no-place-in-our-stores.
     2
         Greenburg v. Amazon.com Inc., No. 101858-4 (Wash. Sup. Ct. Aug. 8, 2024).
25
     3
         See Dana Mattioli & Sebastien Herrera, Amazon Struggles to Find Its Coronavirus Footing. ‘It’s
26       a Time of Great Stress.’, WALL STREET J. (Mar. 31, 2020), https://www.wsj.com/articles/amazon-
         struggles-to-find-its-coronavirus-footing-its-a-time-of-great-stress-11585664987.
27   4
         See Kate Taylor, A chart shows how Jeff Bezos’s net worth exploded by $75 billion in 2020,
28       reaching $188 billion before he stepped down as Amazon’s CEO, BUS. INSIDER (Feb. 2, 2021),

     SECOND AMENDED CLASS ACTION COMPLAINT – 1
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 1            4.       While Amazon provided needed services during the pandemic, this does not place it

 2   above the law. Like every seller, Amazon has a legal obligation under Washington (and other) laws to

 3   ensure that its pricing does not exploit consumers facing emergency conditions. That is, price gouging

 4   is not just immoral, it is a manifest violation of the Washington Consumer Protection Act (“WCPA”).

 5            5.       To be sure, there is some price fluctuation in any dynamic market. This, however, is

 6   not a case about ordinary price fluctuation. It is about Amazon leveraging a pandemic to profit unfairly

 7   off consumers in real need. Available data show that Amazon’s price increases have been anything but

 8   normal. Just by way of example, after COVID-19 was declared a nationwide public health emergency

 9   by the United States Department of Health and Human Services (“HHS”),5 certain Amazon prices

10   increased as follows:

11                    Face Masks: Increases up to 1,800 percent, from $4.21 to $79.99;
12                    Cold Remedies: Increases up to 1,523 percent, from $4.65 to $79.00;
13                    Toilet Paper: Increases up to 1,044 percent, from $17.48 to $200;
14                    Pain Reliever: Increases up to 233 percent, from $18.75 to $62.40;
15                    Black Beans: Increases up to 521 percent, from $3.54 to $21.99;
16                    Baking Soda: Increases of more than 1,500 percent, from $3.08 to $50.00;
17                    Flour: Increases up to 400 percent, from $22.00 to $110.00;
18                    Yeast: Increases up to 625 percent, from $7.02 to $50.95; and
19                    Disinfectant Wipes: Increases of more than 745 percent, from $20.71 to $174.96.
20            6.       All of these (and many more) Amazon price increases are flagrantly unlawful under

21   Washington law. While the WCPA does not codify a specific threshold for price gouging, many states

22   with comparable consumer-protection regimes set the bar at 10%. See, e.g., Cal. Penal Code § 396(b),

23   Ark. Code § 4-88-303(a), W. Va. Code §46A-6J-3. Others set it at 15%. See, e.g., Or. Admin R.

24   401.965(3). Others bar any price increase during a declared emergency. See Haw. Rev. Stat. Ann

25

26       https://www.businessinsider.com/amazon-ceo-jeff-bezos-net-worth-explodes-in-2020-chart-
         2020-12.
27   5
         See HHS, Determination that a Public Health Emergency Exists (dated Jan. 31, 2020, eff. Jan 27,
28       2020), available at https://aspr.hhs.gov/legal/PHE/Pages/2019-nCoV.aspx.

     SECOND AMENDED CLASS ACTION COMPLAINT – 2
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 1   § 127A-30(a)(1). A bill being once considered by Washington’s legislature would render unlawful

 2   prices increases of 15% or more during a declared emergency.6

 3            7.       The Washington Attorney General has recognized that charging excessive prices during

 4   the COVID-19 pandemic “is a violation of the Consumer Protection Act, RCW 19.86.020” as it

 5   currently exists.7 Invoking the WCPA, the Washington Attorney General has issued numerous cease-

 6   and-desist letters barring “price gouging during this emergency.”8 Whether or not further price gouging

 7   legislation is enacted, courts likewise have an obligation to enforce the plain terms of the WCPA,

 8   including its freestanding prohibition on “unfair” acts or practices. And price gouging to profit off a

 9   pandemic is about as “unfair” as a business practice can get.

10            8.       Prior to this action, Amazon has acknowledged price gouging on its platform during

11   the pandemic, but it has deflected responsibility by blaming third-party suppliers who use Amazon to

12   market their goods. Indeed, Amazon knew how to identify price gouging and represented to its

13   customers that “we have dynamic, automated systems in place that locate and remove unfairly priced

14   items” and that Amazon had removed “well over half a million of offers from our stores due to

15   coronavirus-based price gouging.” This public relations campaign surfaced two important facts. First,

16   when a third party markets a product on Amazon, Amazon controls virtually every aspect of the sale,

17   including the price ceiling, and can identify price gouging and stop it. Further, when Amazon sells

18   products supplied by third parties at excessive prices, Amazon is responsible. Second, and most
19   brazenly, Amazon inflated prices on its own inventory of products throughout the pandemic. These

20   are products Amazon supplies and sells directly to consumers. For example, a study by the Public

21   Interest Research Group (“PIRG”) shows that, in February 2020, Amazon had increased prices on its

22   own inventory by more than 50 percent on one-sixth of public health products used to combat COVID-

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24   6
         See SB 5191, 67th Leg., Reg. Sess. (Wash. 2021), text and status available at
         https://app.leg.wa.gov/billsummary?BillNumber=5191&Year=2021 (last visited Sept. 19, 2024).
25
     7
         See Bob Ferguson, Wash. Att’y Gen., Notices to Cease and Desist (Mar. 26, 2020), https://agportal-
26       s3bucket.s3.amazonaws.com/uploadedfiles/Another/News/Press_
         Releases/DemandLetters032620.pdf; see also Greenberg v. Amazon, Case No. 101858-4 (Wa.
27       Sup. Ct.), Brief of Amicus Curiae Attorney General of the State of Washington (Dec. 4, 2023).
     8
28       See id.

     SECOND AMENDED CLASS ACTION COMPLAINT – 3
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 1   19.9 Later in September 2020, Public Citizen tracked Amazon pricing on 10 essential products that

 2   Amazon markets directly (e.g. masks, toilet paper, disinfectant, etc.) and identified markups from 48%

 3   to 1,010%.10 In short, while claiming to combat third-party price gouging, Amazon has jacked prices

 4   on its own inventory of products to profiteer off consumers in desperate need.

 5            9.       To safely obtain essential goods during the COVID-19 crisis, Plaintiffs Alvin

 6   Greenberg, Michael Steinberg, Julie Hanson, Christina King, and Ronnell Robertson purchased items

 7   from Amazon at excessive and unfair prices that vastly exceeded the prices prevailing before the

 8   pandemic—increases ranging from 53% to 826%. Amazon profited unlawfully from these sales and

 9   Plaintiffs were harmed commensurately. On behalf of themselves, and a proposed Class of consumers

10   similarly situated, Plaintiffs seek damages, restitution, injunctive relief, and all other available

11   remedies.

12                                    II.    JURISDICTION AND VENUE
13            10.      This Court has subject matter jurisdiction because this is a class action arising under

14   the Class Action Fairness Act of 2005 (“CAFA”), which confers original jurisdiction on the federal

15   courts for any class action in which any member of the Class is a citizen of a state different from any

16   defendant, and in which the matter in controversy exceeds in the aggregate $5,000,000, exclusive of

17   interest and costs. Plaintiffs allege that the total claims of individual class members in this action are in

18   excess of $5,000,000, as required by 28 U.S.C. § 1332(d)(2) & (6). Plaintiffs are citizens of California,
19   whereas Defendant is a citizen of Washington, satisfying 28 U.S.C. § 1332(d)(2)(A). Furthermore, the

20   total number of class members is greater than 100, as required by 28 U.S.C. § 1332(d)(5)(B). Federal

21   subject matter jurisdiction thus exists.

22            11.      Amazon has minimum contacts with the United States, this judicial district, and

23   Washington. Amazon maintains its headquarters in Washington and has intentionally availed itself of

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     9
          See U.S. Pub. Interest Research Grp. Ed. Fund, Analysis: Coronavirus spike most surgical mask,
26        sanitizer prices at least 50% on Amazon (last updated July 28, 2020), https://uspirgedfund.org/
          resources/usf/analysis-coronavirus-spike-most-surgical-mask-sanitizer-prices-least-50-amazon.
27   10
          Public Citizen, Prime Gouging: How Amazon Raised Prices to Profit from the Pandemic at 12
28        (Sept. 2020), available at https://www.citizen.org/wp-content/uploads/Prime-Gouging-report.pdf.

     SECOND AMENDED CLASS ACTION COMPLAINT – 4
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 1   the laws of Washington by conducting a substantial amount of business in the state. This Court

 2   accordingly has personal jurisdiction over Amazon.

 3              12.    Venue is appropriate in this District pursuant to 28 U.S.C. § 1391(b)(1) because

 4   Amazon is headquartered and resides in this District. Venue is further appropriate in this district

 5   pursuant to the forum selection clause in Amazon’s online “conditions of use,” which are available

 6   when a consumer signs up for an Amazon account and makes purchases. The conditions provide that

 7   “[a]ny dispute or claim relating in any way to your use of any Amazon Service will be adjudicated in

 8   the state or Federal courts in King County, Washington, and you consent to exclusive jurisdiction and

 9   venue in these courts.”

10                                                III.   PARTIES
11   A.         Plaintiffs
12              1.     Alvin Greenberg, Ph.D.
13              13.    Plaintiff Alvin Greenberg, Ph.D., is 74 years old and resides in San Rafael, California.

14   San Rafael is in Marin County.

15              14.    Dr. Greenberg is a toxicologist. He served previously as Chair of the Bay Area Air

16   Quality Management District Hearing Board, a Member of the California Occupational Health and

17   Safety Standards Board (appointed by the governor), and Assistant Deputy Chief for Health, Cal-

18   OSHA.
19              15.    Following the January 31, 2020 declaration of a national COVID-19 emergency by the

20   HHS, Marin County issued a Shelter-in-Place Order on March 16, 2020.11 Consistent with prevailing

21   guidance from health experts, the order instructed residents such as Dr. Greenberg to “self-isolate in

22   their place of residence to the maximum extent feasible.”12 Marin County officials implored residents

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          See Matt Willis, MD, MPH, Health Officer of the Cty. of Marin, Order of the Cty. Health Officer
26        of the Cty. of Marin to Shelter in Place (Mar. 16, 2020), available at
          https://coronavirus.marinhhs.org/sites/default/files/Files/Shelter%20in%20Place/Shelter%20
27        in%20Place%20Order%2016%20March%202020.pdf.
     12
28        Id.

     SECOND AMENDED CLASS ACTION COMPLAINT – 5
     010923-11/2753066 V1
 1   to leave their homes “as infrequently as possible and only for approved activities.”13 While

 2   discouraging avoidable excursions, Marin County officials reminded residents that they could still “go

 3   online, purchase items, and have them delivered to [their] home.”14 This guidance was reiterated by

 4   the California Department of Health, which on March 16, 2020, advised individuals over the age of

 5   65, such as Dr. Greenberg, to “[r]emain at home until further guidance is issued” and to “[c]onsider

 6   on-line ordering for food and other supplies.”15

 7             16.     Marin County renewed its Shelter-in-Place Order on March 31, 2020, expanding it to

 8   make social distancing mandatory.16 The Shelter-in-Place Order was further renewed by subsequent

 9   pronouncements, and California’s statewide shelter-in-place order remained in effect until June 15,

10   2021.17

11             17.     On or around April 21, 2020, Dr. Greenberg spoke with his girlfriend, Julie Hoemke,

12   who resides in San Jacinto, California. Ms. Hoemke lives with three of her children and a

13   granddaughter who, at that time, was six months old. Consistent with guidance from public health

14   officials, Ms. Hoemke had been regularly disinfecting the surfaces of her home to protect herself and

15   family from COVID-19. She had been using bleach for this purpose but had run out of her supply. Ms.

16   Hoemke visited and called multiple retailers in her vicinity—including grocery stores, Home Depot,

17   Lowes, and Walmart—in hopes of securing a replacement supply of bleach. The retailers, however,

18   were all sold out of bleach and other disinfectants.
19

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     13
          Marin Health & Human Servs., Frequently Asked Questions, https://coronavirus.marinhhs.org/
21
          faqs/en (last visited June 29, 2021) (FAQ: “What can I do to slow the spread of COVID-19”).
22   14
          See id. (FAQ: “Can I still order the things I need online from businesses and have them delivered
          to my home?”).
23
     15
          See Cal. Dep’t of Pub. Health, COVID-19 Public Health Guidance: Self-Isolation for Older Adults
24        and Those Who Have Elevated Risk (Mar. 16, 2020), https://www.cdph.ca.gov/Programs/CID/
          DCDC/CDPH%20Document%20Library/Self_Isolation_Guidance_03.16.20.pdf.
25
     16
          See Lisa Santora, MD, MPH, Deputy Health Officer of the Cty. Of Marin, Order of the Cty. Health
26        Officer of the Cty. Of Marin to Shelter in Place (Mar. 31, 2020), available at
          https://coronavirus.marinhhs.org/sites/default/files/2020-03/marin_final-superseding-shelter-in-
27        place-order.pdf.
     17
28        See Safely reopening California, https://covid19.ca.gov/safely-reopening/ (June 22, 2021 update).

     SECOND AMENDED CLASS ACTION COMPLAINT – 6
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 1            18.      Hearing this, Dr. Greenberg endeavored to locate bleach that could be shipped to

 2   Ms. Hoemke. Dr. Greenberg did not, however, feel safe visiting retail outlets in and around his San

 3   Rafael home. COVID-19 was spreading at this time and at 74 years of age, and with asthma,

 4   Dr. Greenberg recognized that he was at heightened risk of experiencing complications should he come

 5   into contact with the virus. Heeding public health guidance, Dr. Greenberg instead looked online for a

 6   supplier of bleach. The only online retailer he could locate with any bleach in stock was Amazon,

 7   which on April 21, 2020, was selling three-bottle containers of Clorox Concentrated Germicidal

 8   Bleach for $58.19. From his professional training, Dr. Greenberg was generally aware that bleach is

 9   effective in combatting viruses. Dr. Greenberg had also reviewed the CDC’s and EPA’s websites to

10   confirm as much. The particular Clorox product Dr. Greenberg located on Amazon features a higher

11   concentrate of sodium hypochlorite, the active ingredient that kills viruses.

12            19.      Dr. Greenberg recognized immediately that $58.19 was an exorbitant price for three

13   bottles of Clorox Concentrated Germicidal Bleach. But under the circumstances, he saw no meaningful

14   choice but to purchase it from Amazon. Even if this product could be obtained from stores in his area,

15   and there was no assurance of that given retail scarcity of COVID-combatting products, as indicated

16   by Ms. Hoemke’s inability to find bleach at local retailers, Dr. Greenberg did not feel safe venturing

17   into retail outlets, nor would this have been consistent with public health guidance. The only alternative

18   was to wait in hopes that other online retailers would restock the product, but it was unclear when (if
19   ever) this would occur. At the time, Amazon itself purported to only have six boxes of Clorox

20   Concentrated Germicidal Bleach remaining. With COVID-19 spreading rapidly, and the safety of his

21   girlfriend and family imperiled, Dr. Greenberg did not believe that waiting was an option. Dr.

22   Greenberg accordingly purchased the product at the listed price of $58.19. Dr. Greenberg paid for the

23   bleach out of pocket and has not been reimbursed.

24            20.      The price Dr. Greenberg paid for Clorox Germicidal Bleach vastly exceeded the price

25   that prevailed on Amazon prior to the pandemic. On January 31, 2020, when Health and Human

26   Services Secretary Alex M. Azar II declared a nationwide COVID-19 health emergency (effective
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     SECOND AMENDED CLASS ACTION COMPLAINT – 7
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 1   January 27, 2020), the specific product Dr. Greenberg purchased sold on Amazon for $21.74.18 By
 2   April 21, 2020, when Dr. Greenberg made his purchase, the price had jumped to $58.19, which
 3   represents a 168% increase above the January 31, 2020 price.19

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16              2.     Michael Steinberg

17              21.    Plaintiff Michael Steinberg lives in Oakland, California, which is in Alameda County.

18   Following the January 31, 2020 declaration of a national emergency by the HHS, Alameda County

19   declared a State of Emergency on March 1, 2020.

20              22.    To prevent a larger outbreak of COVID-19, on March 16, 2020, Alameda County issued

21   a Shelter-in-Place Order, which instructed its citizens to “self-isolate in their places of residence to the

22   maximize extent feasible.”20 On that same day, similar orders were issued by five surrounding Bay

23   Area counties, as well as the City of Berkeley, with a total population exceeding six million people

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     18
          See https://keepa.com/#!product/1-B06XZJH8XJ (last visited Oct. 22, 2021). For brevity, links to
25        specific product price-tracking websites are abbreviated to their URLs.
26   19
          Id.
     20
27        Dr. Erica Pan, Interim Health Officer of the Cty. of Alameda, Order of the County Health Officer
          to Shelter in Place (Mar. 16, 2020), http://www.acgov.org/documents/Final-Order-to-Shelter-In-
28        Place.pdf.

     SECOND AMENDED CLASS ACTION COMPLAINT – 8
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 1   covered by the orders. A California statewide shelter-in-place order remained in effect through June

 2   15, 2021.

 3            23.      While discouraging avoidable excursions, like in Marin County, Alameda County

 4   officials informed residents that they could still “go online, purchase items, and have them delivered

 5   to [their] home.”21 The Alameda County Interim Health Officer has explained that sheltering in place

 6   is necessary because of, among other things, “evidence of continued significant community

 7   transmission of COVID-19 within the County and throughout the Bay Area,” that “the virus can

 8   survive for hours to days on surfaces and be indirectly transmitted between individuals,” “[b]ecause

 9   even people without symptoms can transmit the infection, and because evidence shows the infection

10   is easily spread, gatherings and other direct or indirect interpersonal interactions can result in

11   preventable transmission of the virus.”22

12            24.      Consistent with these orders and prevailing guidance from medical experts,

13   Mr. Steinberg limited trips outside the home during the COVID-19 pandemic. He also sought to

14   prepare more meals at home to minimize contact with outside food vendors, which includes making

15   his own bread.

16            25.      Although fearful when leaving his home, Mr. Steinberg during the pandemic attempted

17   to purchase yeast, a necessary ingredient for bread, at local grocery stores. But at points during the

18   pandemic, yeast was unavailable or exceedingly difficult to procure. John Heilman, vice president of
19   yeast manufacturing for AB Mauri, makers of Fleischmann’s Yeast, told USA Today that the two to

20   three weeks of dry yeast buffer inventory Fleischmann’s had on hand “was gone almost instantly” after

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          See Alameda Cty. Health Care Servs. Agency, Alameda County FAQs for Shelter in lace Order at
26        21 (updated Apr. 29, 2020, eff. May 4, 2020), available at https://www.albanyca.org/home/
          showpublisheddocument/44444/637239184942130000 (FAQ: “Can I still order the things I need
27        online and have them delivered to my residence?”).
     22
28        See id. at 3, ¶ 9.

     SECOND AMENDED CLASS ACTION COMPLAINT – 9
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 1   the beginning of the COVID-19 pandemic, and estimated on April 23, 2020, that it would take

 2   approximately one to two months to get store shelves stocked again.23

 3            26.      In April 2020, Mr. Steinberg was unable to locate yeast at local grocery stores and

 4   looked for supply on the internet. On April 3, 2020, Mr. Steinberg saw a sales listing for a two-pound

 5   pouch of Red Star Active Dry Yeast on Amazon for $39.97. He looked online at the website of another
 6   large retailer but could not find any yeast for sale.

 7            27.      Mr. Steinberg was unable to find yeast elsewhere, he understood the government

 8   directives to shelter in place, and he recognized the importance of making food at home in the midst

 9   of the pandemic. Thus, he felt that he had no meaningful choice but to purchase yeast on Amazon and

10   accept the terms Amazon was offering, and he did so.

11            28.      Nonetheless, Mr. Steinberg was still very upset about the price of yeast on Amazon, a

12   basic household staple, and believed that he was being exploited because there was nowhere else to

13   buy it. So, in the week following his April 3, 2020 purchase, he complained to Amazon about the price

14   and the apparent price gouging. He made multiple phone calls, but the calls got him nowhere. It seemed

15   that each Amazon agent he spoke with had no idea what was going on, apart from noting his prior call

16   and concern. They read from what seemed to be a script, which was nonresponsive to anything he was

17   trying to communicate. At some point he was told that the yeast he purchased was not returnable

18   because it is a food product. When Mr. Steinberg complained about the price jump and pointed out
19   that he believed the Amazon website tracks prices, a person he thinks was a supervisor said that he had

20   no access to that information, and that it is up to another department to figure out whether a price is

21   appropriate. Feeling frustrated but out of options, Mr. Steinberg kept the yeast and received no discount

22   or rebate.

23            29.      The price Mr. Steinberg paid for Red Star Active Dry Yeast vastly exceeded the price

24   on Amazon prior to the pandemic. On January 31, 2020, when Health and Human Services Secretary

25   Alex M. Azar II declared a nationwide COVID-19 health emergency (effective January 27, 2020), the

26
     23
27        Jessica Guynn & Kelly Tyko, Dry yeast flew off shelves during coronavirus pantry stocking. Here’s
          when you can buy it again, USA TODAY (updated Apr. 30, 2020), https://www.usatoday.com/story/
28        money/food/2020/04/23/coronavirus-pantry-baking-yeast-shortage/3004274001/.

     SECOND AMENDED CLASS ACTION COMPLAINT – 10
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 1   specific product Mr. Steinberg purchased sold on Amazon for $7.02.24 By April 3, 2020, when Mr.
 2   Steinberg made his purchase, the price had jumped to $39.97, which represents a 469% increase over
 3   the January 31, 2020 price.25

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                3.     Julie Hanson
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                30.    Plaintiff Julie Hanson lives in Diamond Springs, California, which is in El Dorado
17
     County.
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19              31.    Following the HHS’ January 31, 2020 declaration of a national COVID-19

20   emergency, El Dorado County issued a Shelter-in-Place directive on March 19, 2020.26 California’s

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     24
          See https://keepa.com/#!product/1-B005KR0MZG (last visited Oct. 22, 2021). The price for this
24        product reached as high as $99.95 during the pandemic.
     25
25        Id.
     26
          See Nancy J. Williams, Public Health Officer, El Dorado Cty. Health & Human Servs. Agency,
26
          Directive of the El Dorado County Public Health Officer Restricting Activities in Response to
27        COVID-19 Outbreak (Mar. 19, 2020). available at https://www.edcgov.us/Government/hhsa/
          Documents/El%20Dorado%20-%20shelter-in-place%20directive%XXX-XX-XXXX.pdf (last visited
28        July 1, 2020).

     SECOND AMENDED CLASS ACTION COMPLAINT – 11
     010923-11/2753066 V1
 1   Governor Newsom issued a statewide Shelter-in-Place Order the same day.27 As with the statewide

 2   directive, El Dorado County’s Order was designed to ensure “that the maximum numbers of people

 3   self-isolate in their place of residence to the greatest extent feasible.”28 Action was needed, El

 4   Dorado County concluded, because of “evidence of increasing occurrence of COVID-19 in the

 5   surrounding counties and the State of California.”29 Officials warned in particular that individuals

 6   with underlying health conditions faced enhanced “risk for serious health complications, including

 7   death, from COVID-19.”30 El Dorado County’s Shelter-in-Place Order came on the heels of

 8   statewide guidance from the California Department of Health, which highlighted the “elevated risk”

 9   for health-compromised individuals and advised them to “[c]onsider on-line ordering for food and

10   other supplies” to keep themselves and loved ones healthy.31

11            32.      Ms. Hanson is 57 years old and suffers from underlying health conditions, some of

12   which heighten the risk she will experience adverse, and potentially fatal, consequences should she

13   come in contact with the novel coronavirus. Ms. Hanson has Parkinson’s disease and bronchiectasis,

14   a lung condition that causes coughing due to scarred tissue in the bronchi, or the passages that let air

15   into the lungs. Severe bronchiectasis can lead to respiratory and heart failure. Ms. Hanson was also in

16   a head-on vehicle collision in 2018, which has impaired her mobility.

17            33.      Prior to the outbreak of COVID-19, Ms. Hanson was just beginning to regain mobility

18   sufficient to shop outside her home. But as COVID-19 spread through California in February 2020,
19   Ms. Hanson decided, particularly in light of her health conditions, that it was not safe for her to make

20   retail excursions. This decision comported with public health guidance, including subsequent

21   directives issued by El Dorado County and California health officials, regarding the need to self-

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     27
          See Cal. Exec. Order N-33-20 (Mar. 19, 2020), https://www.gov.ca.gov/wp-
24        content/uploads/2020/03/3.19.20-attested-EO-N-33-20-COVID-19-HEALTH-ORDER.pdf
          (last visited July 1, 2020).
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     28
          See El Dorado Cty., supra note 26.
26   29
          See id.
27   30
          See id.
     31
28        See Cal. Dep’t of Pub. Health, supra note 15.

     SECOND AMENDED CLASS ACTION COMPLAINT – 12
     010923-11/2753066 V1
 1   isolate, particularly for persons with underlying health conditions. To meet her daily needs, and to

 2   provide for her family, Ms. Hanson turned to Amazon and the home delivery it offers. Since the

 3   outbreak of COVID-19, Ms. Hanson has purchased certain items from Amazon for herself, and

 4   others for daughters who live in their own residences and receive support from Ms. Hanson.

 5            34.      On or around April 14, 2020, Ms. Hanson became aware that one of her daughters,

 6   Sabrina Gates, had acquired a kitten and was experiencing an outbreak of fleas in her own

 7   household. Like her mother, Ms. Gates generally stayed inside her home throughout the COVID-19

 8   pandemic to protect herself and particularly her diabetic son.

 9            35.      Ms. Hanson undertook to locate products that might alleviate her daughter’s flea

10   infestation. Ms. Hanson has had many pets in her lifetime and has found flea sprays manufactured by

11   Zodiac to be particularly safe and effective at treating houses for fleas. She was able to find Zodiac

12   Flea & Tick Spray listed on Chewy.com, an online pet-supply retailer, but the product was not

13   available for shipment. Ms. Hanson subsequently found the same product on Amazon and, on April

14   30, 2020, purchased it for the price of $14.19. Ms. Hanson paid out of pocket and has not been

15   reimbursed. This product was supplied by Amazon itself (not a third-party retailer).

16            36.      The price Ms. Hanson paid for Zodiac Flea & Tick Spray vastly exceeded the price on

17   Amazon prior to the pandemic. On January 31, 2020, when the HHS declared a nationwide COVID-

18   19 health emergency (effective January 27, 2020), the specific product Ms. Hanson purchased sold
19   on Amazon for $8.99.32 By April 30, 2020, when Ms. Hanson made her purchase, the price had
20   increased to $14.19, representing a 58% increase over the January 31, 2020 price.33
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27   32
          See https://keepa.com/#!product/1-Bpara B001OVGJUO (last visited Oct. 22, 2021).
     33
28        See id.

     SECOND AMENDED CLASS ACTION COMPLAINT – 13
     010923-11/2753066 V1
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              4.       Christina King
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              37.      Plaintiff Christina King lives in Mesa, Arizona. Mesa is in Maricopa County.
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              38.      As COVID-19 spread through Arizona in early 2020, Maricopa County was at the
15
     epicenter of the evolving crisis. The first known case of COVID-19 in Arizona was a student at
16
     Arizona State University in Maricopa County who had travelled to Wuhan China and was diagnosed
17
     upon his return.34 The virus spread rapidly, and with great alarm, through the community in the
18
     weeks that followed.
19
              39.      On March 11, 2020, Arizona Governor Doug Ducey announced a state of emergency
20
     due to the continuing outbreak of COVID-19.35 Less than a week later, on March 17, 2020, Mesa
21
     Mayor John Giles declared a state of emergency in Mesa.36 Just two days later, with COVID-19
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24   34
          See Arizona Department of Health Services, News Release (Jan. 26, 2020) available at
          https://www.azdhs.gov/director/public-information-office/index.php#news-release-012620 (last
25        visited Oct. 22, 2021).
26   35
          See Declaration of Emergency (March 11, 2020) available at
          https://azgovernor.gov/sites/default/files/declaraton_0.pdf (last visited Oct. 22, 2021).
27   36
          See Proclamation and Declaration of Emergency (March 17, 2020), available at
28        https://www.mesaaz.gov/home/showpublisheddocument/37274/637200547492300000,

     SECOND AMENDED CLASS ACTION COMPLAINT – 14
     010923-11/2753066 V1
 1   spreading exponentially, Mayor Giles closed all recreational, entertainment, sports, and fitness

 2   venues, while also shutting down restaurants and bars to onsite consumption.37 Mayor Giles urged

 3   residents to avoid social gatherings of ten or more people and “to practice social distancing in their

 4   daily lives.”38 Similar guidance was issued in neighboring Maricopa communities, including

 5   Phoenix.

 6              40.    As with the rest of the country, Maricopa County has experienced a shortage of

 7   essential products during the pandemic, with disruptions in the supply chain and hording emptying

 8   retail shelves. The situation became so dire that, on March 19, 2020, Governor Ducey called in the

 9   National Guard to help retail stores restock their shelves, to the extent possible.39 Shortly thereafter,

10   Governor Ducey closed Arizona schools and, on March 30, 2020, he issued a statewide “stay home”

11   order in hopes of quelling the transmission of COVID-19.40

12              41.    The outbreak of COVID-19 posed acute risks to Mrs. King, who has a compromised

13   immune system due to chemotherapy treatment she completed in January 2020. Mrs. King also

14   interacts regularly with elderly parents and in-laws who live nearby. From the outset of the

15   pandemic, Mrs. King has been particularly concerned about contracting and transmitting COVID-19

16   to these family members, who, given their advanced age, are at heighted risk of experiencing severe

17   and potentially fatal health effects. Mrs. King’s mother is also immunocompromised as a result of

18   having lupus.
19

20        last visited Oct. 22, 2021.
     37
21        See City of Mesa, Arizona Second Proclamation of the Mayor Under the Declaration of Emergency
          (March 19, 2020) available at
22        http://www.leagueaz.org/e/covid_19/links/mesa_proclamation_soe_2.pdf (last visited Oct. 22,
          2021).
23
     38
          Id.
24   39
          See State of Arizona, Department of Emergency and Military Affairs, Frequently Asked Questions
25        for AZ National Guard COVID-19 Response Task Force Logistics (March 23, 2020) available at
          https://azgovernor.gov/sites/default/files/azngtaskforcelogisticsfaqs_2020-03-23_0.pdf
26        (last visited Oct. 22, 2021).
     40
27        See Office of the Governor Doug Ducey, Executive Order: 2020-18 (March 30, 2020) available at
          https://azgovernor.gov/sites/default/files/eo_2020-
28        18_stay_home_stay_healthy_stay_connected_1.0.pdf (last visited Oct. 22, 2021).

     SECOND AMENDED CLASS ACTION COMPLAINT – 15
     010923-11/2753066 V1
 1            42.      Mrs. King has turned increasingly to online retail during the pandemic. She did this to

 2   protect herself and family from COVID-19, including the elderly parents and in-laws she needed to

 3   help in obtaining essential items. In addition, Mrs. King has been unable to find many of the products

 4   she and her family require at brick-and-mortar retail outlets in her vicinity, making online retailers

 5   the primary option. Mrs. King’s elderly parents and in-laws do not frequently shop online due to

 6   concerns about identity theft, and thus Mrs. King purchases and distributes items to them when she

 7   can.

 8            43.      When Mrs. King shops online she typically compares prices across multiple

 9   platforms, including Vitacost, Target, Sprouts, Costco, Amazon, and others. But throughout the

10   pandemic, Mrs. King observed that essential goods were often unavailable on many of these

11   platforms, or were available only for short periods of time before supplies were exhausted. In many

12   instances, Mrs. King found that the products she seeks (including essential items to combat COVID-

13   19) were available only on Amazon.

14            44.      Amazon repeatedly price gouged Mrs. King during the pandemic, including on at

15   least the five purchases detailed below.

16            45.      Around March 20, 2020, Mrs. King’s mother expressed her dismay about the number

17   of products that were out of stock at local stores, including beef ramen noodles. Recognizing that her

18   mother was growing increasingly nervous about product shortages, Mrs. King looked online for an
19   available supply of beef ramen noodles that could be delivered safely to her home. Amazon is not

20   Mrs. King’s preferred retailer for food items, but she had difficulty finding this product on other

21   online stores. Eventually, Mrs. King found a 12-pack of Marachan beef ramen noodles on Amazon

22   for $38.89. Mrs. King believed $38.89 was an inflated price, and this was not the exact product Mrs.

23   King’s mother preferred. But having been unable to find ramen noodles anywhere else, Mrs. King

24   had no alternative to Amazon and made the purchase. Mrs. King paid out-of-pocket for this item and

25   was not reimbursed.

26            46.      The price Mrs. King paid Amazon for a 12-pack of Marachan instant noodles vastly
27   exceeded Amazon’s price prior to the pandemic. On January 31, 2020, when the HHS declared a

28   nationwide COVID-19 health emergency (effective January 27, 2020), the specific product Mrs.

     SECOND AMENDED CLASS ACTION COMPLAINT – 16
     010923-11/2753066 V1
 1   King purchased sold on Amazon for $4.20. The $38.89 price Mrs. King paid on March 20, 2020
 2   represents an 826% increase over the January 31, 2020 price.41
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12              47.    Also in March 2020, Mrs. King was looking to purchase a supply of rice, a staple for

13   her own family. Like many staples, rice was in short supply at this time. Mrs. King could not locate

14   any rice at her local grocery outlets, so again she checked online. Mrs. King searched several online

15   stores, but they were all sold out of rice. Ultimately, Mrs. King found a four-pack of 32-ounce

16   containers of RiceSelect Jasmati rice on Amazon. This was substantially more rice than Mrs. King

17   wanted to purchase. And Mrs. King believed the price Amazon was charging—$44.95—was

18   inflated. But given her inability to find rice at grocery outlets or online stores, and given the

19   importance of safely obtaining food staples for her family, Mrs. King did not believe she had a

20   meaningful choice. She purchased the rice on March 20, 2020.

21              48.    The price Mrs. King paid vastly exceeded the price on Amazon prior to the pandemic.

22   On January 31, 2020, when the HHS declared a nationwide COVID-19 health emergency (effective

23   January 27, 2020), the specific product Mrs. King purchased sold on Amazon for $20.82. The $44.95

24   price Mrs. King paid on March 20, 2020, represents an 116% increase over the January 31, 2020

25   price.42

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27   41
          See https://keepa.com/#!product/1-B003OB69PC (last visited Oct. 22, 2021).
     42
28        See https://keepa.com/#!product/1-B000EH4XYS (last visited Oct. 22, 2021).

     SECOND AMENDED CLASS ACTION COMPLAINT – 17
     010923-11/2753066 V1
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10            49.      Mrs. King also experienced great difficulty obtaining hand sanitizer during the

11   pandemic, an essential product that leading public health officials have recommended be used, and

12   used liberally, to stop the spread of COVID-19. Due to the shortage, many people have endeavored

13   to make their own hand sanitizer, and various tutorials have been published on the internet showing

14   how this can be done. Having encountered one of those tutorials, and unable to find hand sanitizer

15   anywhere for purchase, Mrs. King decided to buy the ingredients needed to mix her own.

16            50.      One ingredient used in homemade hand sanitizer is vegetable glycerin, a product that

17   Mrs. King had not recalled seeing at retail stores in her area, or online for that matter. On March 13,

18   2020, she looked on Amazon and found a 16-ounce bottle of NOW Solutions Vegetable Glycerin

19   selling for $11.54. This product was supplied by Amazon itself (not a third-party retailer). With her

20   supply of hand sanitizer dwindling, and concerned about the health and safety of her family, Mrs.

21   King purchased the vegetable glycerin from Amazon. Mrs. King saw no reasonable alternative in the

22   circumstances.

23            51.      The price Mrs. King paid for this particular vegetable glycerin product vastly

24   exceeded the price on Amazon prior to the pandemic. On January 31, 2020, when the HHS declared

25   a nationwide COVID-19 health emergency (effective January 27, 2020), the specific product Mrs.

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     SECOND AMENDED CLASS ACTION COMPLAINT – 18
     010923-11/2753066 V1
 1   King purchased sold on Amazon for $5.79. The $11.54 price Mrs. King paid on March 20, 2020
 2   represents an 99% increase over the January 31, 2020 price.43
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              52.      Throughout the pandemic, Mrs. King also sought to protect herself and family by
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     using cleaning and disinfectant products on the surfaces of her home. This was consistent with
13
     guidance from public health authorities. At various points during the pandemic, however, Mrs. King
14
     observed shortages of disinfectants at physical and online stores.
15
              53.      Throughout March 2020, Mrs. King was having particular difficulty locating
16
     disinfectants, and, specifically, disinfecting wipes. Her parents were having the same difficulty and
17
     they collectively agreed that, if anyone found a supply, they would purchase extra to share.
18
19            54.      Typically, Mrs. King tries to purchase cleaning products from eco-friendly
     manufacturers, including Seventh Generation. Mrs. King was unable to find any Seventh Generation
20
     disinfectants at this time, however. Thus, she broadened her search to look for disinfectants of any
21
     type. She found none in physical stores, or at various online stores she recalls searching, including
22
     OfficeMax, Staples, Vitacost, and Amazon.
23
              55.      After several days of searching, Mrs. King found a supply of Clorox disinfecting
24
     wipes that had become available on Amazon—specifically a 2-pack of Clorox Commercial Solutions
25
     Disinfecting Wipes that Amazon was selling for $90. This product was supplied by Amazon itself
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27
     43
28        See https://keepa.com/#!product/1-B0019LWU2K (last visited Oct. 22, 2021).

     SECOND AMENDED CLASS ACTION COMPLAINT – 19
     010923-11/2753066 V1
 1   (not a third-party retailer). Although Clorox is not Mrs. King’s brand of choice, and while she

 2   believed the price was substantially inflated, Ms. King also recognized that she had no meaningful

 3   choice given the scarcity of disinfectants and her inability to buy disinfecting wipes from any other

 4   retailer. In these circumstances, and mindful of how critical disinfectants are to combat COVID-19,

 5   Mrs. King purchased the Clorox wipes from Amazon.

 6            56.      The price Mrs. King paid for these particular Clorox disinfecting wipes grossly

 7   exceeded the price on Amazon prior to the pandemic. On January 31, 2020, when the HHS declared

 8   a nationwide COVID-19 health emergency (effective January 27, 2020), the specific product Mrs.

 9   King purchased sold on Amazon for $54.63. The $90.00 price Mrs. King paid on March 20, 2020,
10   represents an 65% increase over the January 31, 2020 price.44
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20            57.      Mrs. King was also price gouged on water, an essential item that was particularly

21   essential in her circumstances. Mrs. King’s husband has sleep apnea, a condition in which breathing

22   stops during sleep, leading to a host of health complications. One treatment for sleep apnea is use of

23   a continuous positive airway pressure, or “CPAP,” machine during sleep. CPAP machines, including

24   the machine used by Mrs. King’s husband, require distilled water during operation. Distilled water,

25   however, was difficult to find during the pandemic.

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     44
28        See https://keepa.com/#!product/1-B077ZMMT9D (last visited Oct. 22, 2021).

     SECOND AMENDED CLASS ACTION COMPLAINT – 20
     010923-11/2753066 V1
 1            58.      In March 2020 in particular, Mrs. King was unable to locate any supply of distilled

 2   water. She looked both at physical stores, and online, and found none available. The only supply she

 3   could locate was a package of 24 bottles of Smartwater distilled water available on Amazon. This

 4   was substantially more distilled water than she required for her husband’s CPAP machine. The price

 5   Amazon was charging—$56.76—also appeared exceedingly high to Mrs. King. But recognizing that

 6   distilled water was not available elsewhere, and having tried for some time to find it, Mrs. King

 7   concluded that she had no alternative but to purchase this product from Amazon. Without the water,

 8   her husband’s CPAP machine could not operate.

 9            59.      The price Mrs. King paid for Smartwater distilled water grossly exceeded the price on

10   Amazon prior to the pandemic. On January 31, 2020, when the HHS declared a nationwide COVID-

11   19 health emergency (effective January 27, 2020), the specific product Mrs. King purchased sold on

12   Amazon for $37.20. The $56.76 price Mrs. King paid on March 25, 2020 represents a 53% increase
13   over the January 31, 2020 price.45

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23            5.       Ronnell Robertson
24            60.      Plaintiff Ronnell Robertson lives in Hickory, North Carolina. Hickory is in Catawba
25   County.
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     45
28        See https://keepa.com/#!product/1-B073WWZ22T (last visited Oct. 22, 2021).

     SECOND AMENDED CLASS ACTION COMPLAINT – 21
     010923-11/2753066 V1
 1            61.      North Carolina reported its first case of COVID-19 on March 3, 2020.46 The virus

 2   spread rapidly in North Carolina thereafter. On March 10, 2020, governor Roy Cooper declared a

 3   state of emergency, instructing, among other things, that employers and employees “use teleworking

 4   technologies to the greatest extent possible.”47 A week later, governor Cooper closed all restaurants

 5   and bars to sit-down service.48

 6            62.      As the virus spread across North Carolina, Mr. Robertson had difficulty obtaining

 7   essential consumer goods, including goods needed to combat the virus and its transmission. Around

 8   March 17, 2020, Mr. Robertson sought out a supply of disinfectant wipes that he could use to

 9   sanitize surfaces in his home and office. Given the extreme risks posed by COVID-19,

10   Mr. Robertson was particularly interested in obtaining a medical-grade disinfectant. The retail outlets

11   in his area, however, were sold out of all types of disinfectant wipes.

12            63.      Mr. Robertson searched online and, on March 17, 2020, found a supply of CaviWipes

13   on Amazon. This particular product is marketed as a powerful disinfectant for use in medical

14   settings. Recognizing that disinfectants were in scarce supply, and not likely to appear at other retail

15   outlets (online or brick-and-mortar) any time soon, Mr. Robertson purchased eight packages of

16   CaviWipes on Amazon at $26.99 per package.

17            64.      Although Mr. Robertson recognized that $26.99 was an inflated price for this product,

18   he did not believe he had any choice given the imminent health risks posed by the spreading
19   coronavirus and his inability to procure a supply of disinfectants elsewhere. To keep himself and his

20   family safe, Mr. Robertson made the purchase.

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22   46
          See North Carolina Department of Health and Human Services, Press Release (March 3, 2020)
23        available at https://web.archive.org/web/20200407230739/https://www.ncdhhs.gov/news/press-
          releases/north-carolina-identifies-first-case-covid-19 (last visited Oct. 22, 2021).
24   47
          See Office of Governor Roy Cooper, Governor Cooper Declares State of Emergency to Respond
25        to Coronavirus COVID-19 (March 10, 2020) available at: https://governor.nc.gov/news/governor-
          cooper-declares-state-emergency-respond-coronavirus-covid-19 (last visited Oct. 22, 2021).
26   48
          See Office of Governor Roy Cooper, Governor Cooper Issues Executive Order to Close Sit-Down
27        Service at Restaurants and Bars and Make State Unemployment Benefits More Widely Available
          (March 17, 2020) available at: https://governor.nc.gov/news/governor-cooper-issues-executive-
28        order-close-sit-down-service-restaurants-and-bars-and-make (last visited Oct. 22, 2021).

     SECOND AMENDED CLASS ACTION COMPLAINT – 22
     010923-11/2753066 V1
 1              65.     The price Mr. Robertson paid for CaviWipes vastly exceeded the price on Amazon

 2   prior to the pandemic. On January 31, 2020, when the HHS declared a nationwide COVID-19 health

 3   emergency (effective January 27, 2020), the specific product Mr. Robertson purchased sold on

 4   Amazon for $9.99.49 By March 17, 2020, when Mr. Robertson made his purchase, the price had
 5   jumped to $26.99, which represents a 170% increase over the January 31, 2020 price.50
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     B.         Defendant
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                66.     Defendant Amazon.com Inc. is a corporation organized and existing under the laws of
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     Delaware, with its principal place of business in Seattle, Washington. Amazon is the world’s largest
18
     online retailer.
19
     C.         History of Fair Pricing
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                67.     From ancient times, societies have imposed a duty on merchants to sell in good faith.
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     The Hebrew culture was the first to prescribe fair dealing as an essential ethical tenant. 51 The Hebrew
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     Talmud, for example, provides that “if thou sell [ought] unto your neighbour, or buyest ought of thy
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     49
26        See https://keepa.com/#!product/1-B0054OCHQW (last visited Oct. 22, 2021).
     50
          Id.
27   51
          Hon. Sheldon Gardner & Robert Kuehl, Acquiring on Historical Understanding of Duties to
28        Disclose, Fraud, and Warranties, 104 COM. L.J. 168, 170 (1999).

     SECOND AMENDED CLASS ACTION COMPLAINT – 23
     010923-11/2753066 V1
 1   neighbour’s, hand, ye shall not oppress one another.”52 Talmudic scholars interpreted this verse to

 2   prohibit overcharges and undercharges,53 and ruled that in any transaction in which the profit exceeded

 3   one-sixth, the transaction would be null and void.54 Jewish law was skeptical that self-regulating

 4   markets could ensure fair prices, and accordingly intervened to adjust prices that, at least in legal terms,

 5   it deemed “unfair.”55 Aspects of Jewish law, at least those touching on good faith dealing and full

 6   disclosure, found their way into Roman law and consequently, into the Civil Code countries of France,

 7   Germany, and others.56

 8            68.      The major Western religious traditions also address the issue of “fair” prices. The

 9   Catechism of the Catholic Church prohibits merchants from making pricing decisions that take unfair

10   advantage of those in need.57 Essentially the same prohibition found its way into the secular norms of

11   early European markets, where merchants and their customers believed that there was indeed an

12   intrinsically fair price that could be objectively determined.58 Market actors believed that, unfair

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14        Leviticus 25:14.
     53
          Hershey H. Friedman, Biblical Foundations of Business Ethics, 3 J. MARKETS & MORALITY 43, 48
15
          (2000).
16   54
          Id. at 49 (citing the Babylonian Talmud, Bava Metzia, 50b). Interestingly, Talmudic scholars
          seemed to have a relatively sophisticated understanding of the workings of the law of supply and
17        demand, Professor Friedman relates the story of Shmuel, the Talmudic sage, who was concerned
18        with sellers raising the prices of myrtle branches prior to Sukkot. Id. He warned the myrtle branch
          merchants that unless they maintained stable prices, he would allow holiday observers to use myrtle
19        branches with broken tips. Id. (citing Babylonian Talmud, Sukkah, 34b). Clearly Shmuel
          understood the role of increased supply as a moderating influence on price.
20   55
          MEIR TAMARI, “WITH ALL YOUR POSSESSIONS”: Jewish Ethics and Economic Life 87, 87-88
21        (1987).
     56
22        Saul Litvinoff, Good Faith, 71 TUL. L. REV. 1645, 1651-55 (1997).
     57
          Catechism of the Catholic Church, pt. 3, § 2, ch. 2, art. 7, available at
23        https://www.usccb.org/sites/default/files/flipbooks/catechism/580/ (last visited Sept. 19, 2024)
          (“Even if it does not contradict the provisions of civil law, any form of unjustly taking and keeping
24
          the property of others is against the seventh commandment; thus, deliberate retention of goods lent
25        or of objects lost; business fraud; paying unjust wages; forcing up prices by taking advantage of
          the ignorance or hardship of another.”); see also Deuteronomy 25:13-16.
26   58
          EDWARD CAHILL, FRAMEWORK OF A CHRISTIAN STATE 43 (1930) (“According to medieval
27        teaching on the other hand, the price of a commodity was supposed to be determined by objective
          value alone; and could not be justly influenced by the special need or ignorance of buyer or
28        seller.”).

     SECOND AMENDED CLASS ACTION COMPLAINT – 24
     010923-11/2753066 V1
 1   pricing could best be avoided by trading in an open, transparent market.59 Similarly, Islamic law

 2   prohibits both Bay’ al-mudtarr, the exploitation of need by, for example, charging an exorbitantly high

 3   price,60 and Ihtikar, which is hoarding, or withholding supplies of essential goods and services with a

 4   view to raising prices.61

 5            69.      Not surprisingly, given this deep-rooted history of prohibiting price gouging, price

 6   gouging is specifically called out in many state statutes. More than 35 states have dedicated price-

 7   gouging laws. Because there is no federal law protecting consumers from price gouging, states provide

 8   the only defense from unscrupulous sellers. While statutes and prohibitions vary across the states, they

 9   consistently include three facets. First, price increases are generally only prohibited when there is a

10   declared emergency (hurricanes, earthquakes, flooding, or pandemics). Second, price increases are

11   only generally prohibited on a specific set of products that are deemed necessary or essential. Third,

12   the price increase must be due to the presumed increase in demand because of the emergency and not

13   due to some other factor such a regular seasonal price increase or a new supplier.

14            70.      The amount of increase in prices that violate price gouging statutes vary from state to

15   state. Some state price-gouging laws designate a specific percentage increase over which a price

16   increase would be considered gouging. The prohibited percentages range from 10% to 25%. Other

17   state laws use less precise language to describe prohibited price increases such as: “excessive,”

18   “grossly exceeds,” “unreasonable,” “exorbitant,” or “unconscionable.”
19            71.      Price gouging is regulated in Washington by the state’s Consumer Protection Act,

20   which proscribes “unfair” commercial practices. As the Washington Supreme Court recently observed

21   in answering questions certified by this Court, price gouging is generally understood as “a situation

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          JEAN FAVIER, GOLD & SPICES; OF COMMERCE IN TILE MIDDLE AGES 103 (Caroline Higgitt trans.,
24        1998) “[T]o the medieval mind, price gouging … [was a] sin of greed, which was to be warded off
          by trading in an open market, observable by all.”).
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     60
          Mohammad Nejatullah Siddiqi, Lecture to the UCLA Int’l Inst., Islamic Banking and Finance (Fall
26        2001), transcript available at http://www.isop.ucla.edu/article4.asp?parentid=15056 (last visited
          Oct. 22, 2021.
27   61
          MISHKAT, book xii, ch. viii. (“Those who bring grain to a city to sell at a cheap rate are blessed,
28        and they who keep it back in order to sell at a high rate are cursed.”).

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 1   where a retailer or a supplier takes advantage of increases in demand by charging exorbitant prices for

 2   necessities after a natural disaster or other state emergency.”62 The Washington Supreme Court

 3   confirmed that Price gouging can be deemed “unfair” under the CPA and, where the facts are in dispute

 4   or the plaintiff “advances a case-specific unfairness claim that is not regulated by statute or by some

 5   other well-established public policy,” this unfairness determination is to be made by a jury.63

 6                                     IV.     FACTUAL ALLEGATIONS
 7   A.       Outbreak of COVID-19
 8            72.      In late 2019, an outbreak of respiratory illness resulting from a novel coronavirus was

 9   first identified in Wuhan City, Hubei Province, China. That illness, now known as COVID-19, has

10   spread across the world. COVID-19 was designated a pandemic by the World Health Organization,

11   the first pandemic resulting from a coronavirus. As of the date of this Second Amended Complaint,

12   more than 750 million confirmed cases of COVID-19 have been reported across the globe, and almost

13   7 million people have died from their illness.64

14            73.      The first diagnosed case of COVID-19 in the United States was a Washington state

15   resident who had traveled to Wuhan.65 That diagnosis occurred on January 21, 2020. Within days,

16   there was a second diagnosis in Chicago and another in Orange County.66 Alarm spread rapidly within

17   the public health community and the general population at large. On January 23, 2020, the World

18   Health Organization confirmed that the coronavirus was being transmitted human-to-human and
19   recommended that “all countries should be prepared for containment, including active surveillance,

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22   62
          See Greenberg v. Amazon, Case No. 101858-4 (Wa. Sup. Ct.), Op. at 6 (quotation marks omitted).
23   63
          Id. at 57.
24   64
          See World Health Organization, Coronavirus (COVID-19) Dashboard, available at
          https://covid19.who.int/ (last visited August 28, 2021).
25
     65
          See Alan J. Stein, First confirmed case of COVID-19 in the United States is diagnosed in
26        Snohomish County on January 20, 2020, HISTORYLINK.ORG (Apr. 20, 2020),
          https://historylink.org/File/21018.
27   66
          See Stacey Baca et al., Coronavirus diagnosed in Chicago woman; 2nd case in US, ABC 7
28        CHICAGO (Jan. 24, 2020), https://abc7chicago.com/coronavirus-chicago-in-ohare/5875738/.

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 1   early detection, isolation and case management, contract tracing and prevention.”67 The following

 2   week, several cases of human-to-human transmission were confirmed in the United States.

 3              74.    On January 31, 2020, the HHS declared a public health emergency (effective January

 4   27, 2020).68 At the same time, the United States imposed entry restrictions on foreign nationals and

 5   quarantined United States citizens who had been evacuated from Hubei province.69 The virus,

 6   however, continued to spread rapidly, with new cases being reported across the country (and world).

 7   Washington state was an early epicenter, with an outbreak occurring at a long-term care center in

 8   Kirkland, Washington.70

 9              75.    Things took a particularly dire turn on February 26, 2020, when health officials

10   confirmed that a California patient had tested positive for COVID-19 despite having no known

11   exposure to the virus through travel or contact with an affected individual. This was the first

12   confirmation that COVID-19 was being transmitted in the United States through “community spread,”

13   suggesting that untold numbers of citizens were also affected but asymptomatic or otherwise not being

14   tested for COVID-19.

15              76.    On February 29, a Washington man was the first reported COVID-19 death.71 The virus

16   continued to spread exponentially. The CDC has reported that during a three-week stretch between

17   late February and early March 2020, COVID-19 cases in the United States “increased more than 1,000-

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          See Kyle Hicks, 3rd US case of new coronavirus confirmed in Orange County, California, officials
20        say, ABC 7 DENVER (updated Jan. 26, 2020), https://www.thedenverchannel.com/news/national/
          3rd-us-case-of-new-coronavirus-confirmed-in-orange-county-california-officials-say.
21
     68
          See Dep’t Health & Human Servs., Press Release, Secretary Azar Declares Public Health
22        Emergency for United States for 2019 Novel Coronavirus (Jan. 31, 2020), https://www.hhs.gov/
          about/news/2020/01/31/secretary-azar-declares-public-health-emergency-us-2019-novel-
23        coronavirus.html (last visited Oct. 22, 2021).
24   69
          See Alex Leary & Brianna Abbott, U.S. Imposes Entry Restrictions Over Coronavirus, WALL
          STREET J. (updated Jan. 31, 2020), https://www.wsj.com/articles/u-k-reports-first-coronavirus-
25        cases-as-china-allies-limit-ties-11580467046.
26   70
          See Nicole Acevedo & Minyvonne Burke, Washington state man becomes first U.S. death from
          coronavirus, NBC NEWS (updated Feb. 29, 2020), https://www.nbcnews.com/news/us-news/1st-
27        coronavirus-death-u-s-officials-say-n1145931.
     71
28        Id.

     SECOND AMENDED CLASS ACTION COMPLAINT – 27
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 1   fold.”72 By March 17, 2020, COVID-19 had been detected in all 50 states73 and 91 people had died

 2   from COVID-19 in the United States.74 Today, more than 1 million people in the United States have

 3   died from COVID-19, and no aspect of American life has gone unchanged.75

 4   B.       Emergency Declarations and Lockdowns
 5            77.      Following the HHS’ January 31, 2020 declaration of a national public health emergency

 6   related to COVID-19, state governments issued their own declarations of emergency. The first

 7   statewide proclamation was issued by California Governor Gavin Newsom on March 19, 2020.76

 8   Declarations in other states followed in rapid succession.

 9            78.      Consistent with guidance from public health officials,77 state governments typically

10   coupled (or followed) their declarations of emergency with “stay home,” “shelter-in-place,” or other

11   types of lockdown orders requiring residents to remain in their homes to the extent feasible. By April

12   20, 2020, 45 states had some form of “stay home” order in place, covering approximately 95% of the

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     72
          See Anne Schuchat, MD, CDC COVID-19 Response Team, Public Health Response to the
15
          Initiation and Spread of Pandemic COVID-19 in the United States, February 24–April 21, 2020,
16        69 MORBIDITY & MORTALITY WEEKLY REP. (May 8, 2020), https://www.cdc.gov/mmwr/volumes/
          69/wr/mm6918e2.htm.
17   73
          See Associated Press, West Virginia, the last US state without coronavirus, confirms 1st case, FOX
18        8 NEWS (updated Mar. 17, 2020), https://myfox8.com/news/coronavirus/west-virginia-the-last-us-
          state-without-coronavirus-confirms-1st-case/.
19   74
          See Will Feuer, US coronavirus cases surpass 5,000, up fivefold from a week ago, CNBC (updated
20        Mar. 17, 2020), https://www.cnbc.com/2020/03/17/us-coronavirus-cases-surpass-5000-up-
          fivefold-from-a-week-ago.html.
21   75
          See CDC, Covid Data Tracker, https://covid.cdc.gov/covid-data-tracker/#maps_deaths-total (last
22        visited Sept. 19, 2024).
     76
          See Cal. Exec. Order N-33-20, supra note 27.
23   77
          See, e.g., Ros Krasny et al., Fauci says it’s time to ‘hunker down’, ARKANSAS DEMOCRAT GAZETTE
24        (updated Mar. 16, 2020), https://www.arkansasonline.com/news/2020/mar/16/fauci-says-it-s-
          time-to-hunker-down-202/ (National Institute of Allergy and Infectious Diseases (NIAID) director
25        Dr. Fauci instructing Americans to “stay home” during March interviews with major news outlets);
          Dean Cole & Alison Main, Top infectious disease expert4 doesn’t rule out supporting temporary
26
          national lockdown to combat coronavirus, CNN (updated Mar. 15, 2020), https://www.cnn.com/
27        2020/03/15/politics/anthony-fauci-national-lockdown-bars-restaurants-cnntv/index.html
          (Dr. Fauci informing the public in March 2020 that he would “like to see a dramatic diminution of
28        the personal interaction that we see”).

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 1   United States population.78 As the NEW YORK TIMES put it, “In a desperate race to stunt the spread of

 2   the coronavirus, millions of Americans have been asked to do what would have been unthinkable only

 3   a few months ago: Don’t go to work, don’t go to school, don’t leave the house at all, unless you have

 4   to.”79

 5               79.       Although the wording differed, state governments across political stripes echoed this

 6   resounding theme:

 7                        Gov. Eric J. Holcomb (Indiana): “Hoosiers, hunker down.”80
 8                        Gov. Ned Lamont (Connecticut): “At this critical time it is essential that everyone just
                           stay home.”81
 9
                          Gov. Brad Little (Idaho): “Our health care and public safety workers are putting
10                         themselves in harm’s way to respond to the coronavirus emergency, and we owe it to
                           them to do our part by following this statewide stay-home order.”82
11
                          Gov. Larry Hogan (Maryland): “This is a deadly public health crisis—we are no longer
12                         asking or suggesting that Marylanders stay home, we are directing them to do so.”

13                        Gov. Tim Walz (Minnesota): “We are asking you—because it is going to take
                           cooperation and collaboration—stay home.”83
14
                          Gov. Bill Lee (Tennessee): “[B]ecause with personal liberty comes great personal
15                         responsibility, all Tennesseans must do their part by staying at home whenever
                           possible.”84
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17   78
          See Sara Mervosh et al., See Which States and Cities Have Told Residents to Stay at Home, N.Y.
18         TIMES (updated Apr. 20, 2020), https://www.nytimes.com/interactive/2020/us/coronavirus-stay-
           at-home-order.html.
19   79
           Id.
20   80
           See IndyStar, Indiana coronavirus updates: Governor orders Hoosiers to stay at home starting
           Wednesday (updated Mar. 24, 2020), https://www.indystar.com/story/news/health/2020/03/23/
21
           indiana-coronavirus-updates-indianapolis-covid-19-latest-news/2896967001/.
22   81
           See Gov. Ned Lamont, Press Release, Governor Lamont Signs Executive Order
           Asking Connecticut Businesses and Residents: ‘Stay Safe, Stay Home’ (Mar. 20, 2020), see
23         https://www.housedems.ct.gov/wood/article/covid-19-update-320.
24   82
           See State of Idaho, Statewide Stay-Home Order (updated Mar. 27, 2020),                              see
           https://www.nytimes.com/interactive/2020/us/coronavirus-stay-at-home-order.html.
25
     83
           Stay at home: These states have issued orders for residents not to go out amid COVID-19
26         pandemic, FOX 10 PHOENIX (updated Apr. 9, 2020), https://www.fox10phoenix.com/news/stay-at-
           home-these-states-have-issued-orders-for-residents-not-to-go-out-amid-covid-19-pandemic.
27   84
           See Tenn. Exec. Order No. 22 (Mar. 30, 2020), https://publications.tnsosfiles.com/pub/execorders/
28         exec-orders-lee22.pdf.

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 1                     Gov. Phil Scott (Vermont): “Vermonters are directed to stay at home or in their place
                        of residence, leaving only for essential reasons.”85
 2
                       Gov. Jay Inslee (Washington): “The more of us who stay home, the fewer of us who
 3                      will be infected by COVID-19 and the more lives that will be saved.”86

 4                     Gov. Chris Sununu (New Hampshire): “We can’t stress this enough – you should stay
                        at your house unless absolutely necessary.”87
 5
                       Gov. Michelle Lujan Grisham (New Mexico): “This is quite frankly an instruction to
 6                      stay home.”88

 7                     Gov. Kate Brown (Oregon): “Stay Home, Save Lives.”89
 8                     Gov. Ralph Northam (Virginia): “Our message to Virginians is clear: stay home.”90
 9            80.       Although statewide “stay home” orders generally authorized residents to shop outside

10   the home for essential items if necessary, prominent health officials encouraged consumers to shop

11   online to protect themselves and arrest the spread of COVID-19. In this regard, during the pandemic

12   the CDC advised all Americans to “[o]rder food and other items online for home delivery or curbside

13   pickup (if possible)” and to “[o]nly visit the grocery store, or other stores selling household essentials,

14   in person when you absolutely need to,” as “[t]his will limit your potential exposure to others and the

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     85
          See VTDigger, ‘Stay home,’ Scott orders; relief measures pass, VT. CMTY. NEWSPAPER GRP.
19
          (updated Apr. 2, 2020), https://www.vtcng.com/state_and_world/state_news/stay-home-scott-
20        orders-relief-measures-pass/article_4a53daee-6f74-11ea-9b66-ef84b25aca39.html.
     86
          See Austin Jenkins & Tom Banse, Washington Gov. Inslee Announces Statewide Stay-At-Home
21
          Order, OPB (Mar. 23, 2020), https://www.opb.org/news/article/washington-governor-inslee-
22        coronavirus-stay-at-home-order/.
     87
          See Gov. Chris Sununu (@GovChrisSununu), TWITTER (Mar. 26, 2020, 12:04 PM),
23        https://twitter.com/govchrissununu/status/1243252555599265792.
24   88
          See Dan McKay (@mckaydan), TWITTER (Mar. 23, 2020, 2:30 PM), https://twitter.com/mckaydan/
          status/1242201996028870656.
25
     89
          See Or. Exec. Order No. 20-12 (Mar. 23, 2020), https://govsite-assets.s3.amazonaws.com/
26        jkAULYKcSh6DoDF8wBM0_EO%2020-12.pdf.
     90
27        See Gov. Ralph S. Northam, Press Release, Governor Northam Issues Statewide Stay at Home
          Order (Mar. 30, 2020), https://www.governor.virginia.gov/newsroom/all-releases/2020/march/
28        headline-855702-en.html.

     SECOND AMENDED CLASS ACTION COMPLAINT – 30
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 1   virus that causes COVID-19.”91 As for individuals sick with COVID-19, or potentially exposed, the

 2   CDC instructed as follows: “Do not leave your home, except to get medical care. Do not visit public

 3   areas.”92

 4   C.         Hoarding and Retail Scarcity
 5              81.    The ability to shop outside the home was further curtailed, particularly in the early

 6   stages of the pandemic (but also in subsequent waves), by hoarding and retail scarcity. As COVID-19

 7   spread through the United States, and government efforts to combat the virus intensified, consumers

 8   began to stockpile essential items. By late January 2020, there were already reports that consumers

 9   were buying out retail stock of surgical masks and N95 respirators.93 The research firm Nielsen found

10   that the sale of medical supplies and rubbing alcohol surged nearly twenty percent after the first

11   reported case of COVID-19 in the United States on January 30, 2020.94

12              82.    In February and March 2020, the reports of stockpiling, scarcity, and hoarding

13   escalated. Nielsen found that sales of medical supplies and rubbing alcohol jumped 65 to 85 percent

14   after there was a report of person-to-person transmission of COVID-19 on February 29. The firm also

15   found that powdered milk sales jumped 85 percent, and rice and bean sales increased 25 to 37 percent.95

16   For the week ending on March 7, 2020, compared to the same week a year earlier, sales of hand

17   sanitizer, aerosol disinfectants, and multipurpose cleaners were 470, 385.3, and 148.2 percent higher,

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19

20   91
          See Centers for Disease Control & Prevention, Coronavirus Disease 2019 (COVID-19): Running
          Essential Errands (updated July 30, 2020), https://stacks.cdc.gov/view/cdc/91347/
21
          cdc_91347_DS1.pdf (last visited June 19, 2021).
22   92
          See Centers for Disease Control & Prevention, What to Do If You Are Sick (updated Mar. 17, 2021),
          https://www.cdc.gov/coronavirus/2019-ncov/if-you-are-sick/steps-when-sick.html (last visited
23        Oct. 22, 2021).
24   93
          See Scottie Andrew, There’s been a run of surgical masks in the US because of the coronavirus
          scare. You don't need them, physicians say, CNN (updated Jan. 28, 2020),
25        https://www.cnn.com/2020/01/28/health/coronavirus-us-masks-prevention-trnd/index.html.
26   94
          See Michael Finney & Randall Yip, Coronavirus impact: Why shoppers are hoarding toilet paper,
          supplies and groceries, ABC 7 NEWS (Mar. 18, 2020), https://abc7news.com/hoarding-buying-
27        frenzy-empty-grocery-shelves-toilet-paper-shortage/6025373/.
     95
28        Id.

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 1   respectively.96 In keeping, on March 18, a news station in the San Francisco Bay Area posted an article

 2   online, “Coronavirus impact: Why shoppers are hoarding toilet paper, supplies and groceries.”97 The

 3   article discussed “one of the most visible reaction[s] to the coronavirus – empty shelves at the grocery

 4   stores,” and interviewed a local shopper who had gone to a large grocery store hoping to buy paper

 5   towels and toiletries, but came away with nothing.98 The article’s authors interviewed a marketing

 6   professor, Michal Strahilevitz, to explain the hoarding and scarcity: “when something becomes scarce,

 7   everybody wants more of it because they’re afraid next time . . . [t]here won’t be any toilet paper at

 8   all.”99

 9               83.   On March 13, 2020, the NEW YORK TIMES reported that shoppers were “flood[ing]

10   stores across the nation and emptied shelves, looking to stockpile groceries and household items to

11   prepare for uncharted territory.”100 “They grabbed milk and aspirin, paper towels and spaghetti. Cans

12   of soup and bottles of laundry detergent. Olive oil and sanitizing wipes. With futures suddenly thrust

13   into the unknown, they did what felt reassuring: panic shop.”101

14               84.   A second wave of COVID-19 cases in November 2020 brought a second wave of

15   hoarding and retail scarcity. On November 17, the NEW YORK POST reported that, “[w]ith COVID-19

16   cases surging across the US, panic buying is back in vogue — as evidenced by a sea of empty shelves

17   in supermarkets across the nation in scenes reminiscent of earlier this year, according to reports.”102

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20   96
           See Camila Domonoske & Avie Schneider, Here’s What’s Been Flying Off Store Shelves,
21         NPR (Mar. 16, 2020), https://www.npr.org/2020/03/16/816404689/spiking-demand-for-sanitizer-
           canned-goods-leaves-stores-struggling-to-keep-up.
22   97
           See Finney & Yip, supra note 94.
     98
23         Id.
     99
24         Id.
     100
           See Corina Knoll, Panicked Shoppers Empty Shelves as Coronavirus Anxiety Rises, N.Y. TIMES
25         (Mar. 13, 2020), https://www.nytimes.com/2020/03/13/nyregion/coronavirus-panic-buying.html.
26   101
           Id.
     102
27         See Yaron Steinbuch, COVID-19 panic buying: Toilet paper, essentials fly off shelves again, N.Y.
           POST (updated Nov. 17, 2020), https://nypost.com/2020/11/17/covid-19-panic-buying-toilet-
28         paper-essentials-fly-off-shelves/.

     SECOND AMENDED CLASS ACTION COMPLAINT – 32
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 1   D.       Consumers Turn Increasingly to Online Purchasing, and Amazon in Particular
 2            85.      In response to retail shortages and to limit exposure to the coronavirus, more consumers

 3   have been doing their shopping online, increasing consumer demand and reliance on online retailers.

 4   According to a Nielsen survey, in mid-March 2020, when the concerns over COVID-19 transmission

 5   rapidly escalated, approximately “one-quarter of shoppers said they expected to shop online more

 6   frequently—or for the first time—to avoid germs in public places.”103 The data confirm that this has

 7   occurred. The following graph shows a large increase in March 2020 sales of consumer packaged

 8   goods (“CPG”), in store and online as compared to the same month a year prior, with an astonishing

 9   91 percent increase for online sales. In the two weeks ending on March 21, 2020 upwards of 35 percent

10   more people had shopped online for CPG items as compared with a typical week.104

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26   103
           See NielsenIQ, Tracking the unprecedented impact of COVID-19 on U.S. CPG shopping
           behavior (Mar. 30, 2020), https://nielseniq.com/global/en/insights/analysis/2020/tracking-the-
27         unprecedented-impact-of-covid-19-on-u-s-cpg-shopping-behavior/.
     104
28         See id.

     SECOND AMENDED CLASS ACTION COMPLAINT – 33
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 1               86.   Data released by the Commerce Department shows that, overall, United States online

 2   “sales hit $791.70 billion in 2020, up 32.4% from $598.02 billion in the prior year.”105 As observers

 3   have noted, “[e]commerce thrived in 2020 because of store closures and shoppers’ fear of contracting

 4   the coronavirus in public. And figures from Q1 2021 show that the coronavirus was still making an

 5   impact on retail spending. Online sales increased 39% year over year in Q1 2021, nearly triple the 14%

 6   increase in Q1 2020, and faster than Q3 2020 and Q4 2020.”106

 7               87.   An unprecedented demand on internet retailers has also led to product scarcity online,

 8   with some retailers out of stock and experiencing shipping problems, including large delays.107

 9   Consumers thus have become only more reliant on Amazon—the world’s largest online retailer—for

10   essential consumer goods. Indeed, by July 2020, Amazon’s sales accounted for almost half of all
11   United States retail e-commerce.108 By comparison, Amazon’s nine largest competitors had only a
12   1.1 to 6.6 percent share.109

13               88.   Industry observers have universally recognized that Amazon saw “unprecedented

14   demand amid widespread coronavirus-related shutdowns.”110 As one observer put it, with “millions of

15   Americans ordered to remain home, Amazon is now, more than ever, a lifeline for essentials for

16   millions of people rather than just a convenient option for online shopping.”111 By April 2020,

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     105
           See Digital Commerce 360, Coronavirus adds $105 billion to US ecommerce in 2020 (June 16,
19         2021), https://www.digitalcommerce360.com/article/coronavirus-impact-online-retail/.
     106
20         See id.
     107
           See Katie Evans, A viral surge: How the coronavirus is impacting shipping and delivery of online
21
           orders, DIGITAL COMMERCE 360 (Mar. 20, 2020), https://www.digitalcommerce360.com/2020/03/
22         20/a-viral-surge-how-the-coronavirus-is-impacting-shipping-and-delivery-of-online-orders/.
     108
           See eMarketer, Amazon Now Has Nearly 50% of US Ecommerce Market (July 16, 2018),
23         https://www.emarketer.com/content/amazon-now-has-nearly-50-of-us-ecommerce-market.
24   109
           Id.
     110
25         See Sergei Klebnikov, Jeff Bezos Gets $6.4 Billion Richer As Amazon Stock Hits A New Record
           High, FORBES (updated Apr. 14, 2020), https://www.forbes.com/sites/sergeiklebnikov/2020/04/
26         14/jeff-bezos-gets-63-billion-richer-as-amazon-stock-hits-a-new-record-high/.
     111
27         See Jason Del Rey, Amazon was already powerful. The coronavirus pandemic cleared the way to
           dominance., VOX (Apr. 10, 2020), https://www.vox.com/recode/2020/4/10/21215953/amazon-
28         fresh-walmart-grocery-delivery-coronavirus-retail-store-closures.

     SECOND AMENDED CLASS ACTION COMPLAINT – 34
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 1   consumer spending on Amazon had increased nearly 100 percent over 2019.112 Fueled by the

 2   pandemic, Amazon’s sales increased $318.41 billion over 2020 as a whole, a 44.1% increase that

 3   eclipsed already bullish forecasts for Amazon’s growth.113

 4               89.   One reason Amazon has seen its sales increase is that it can supply essential goods that

 5   are not always available on retail shelves in the COVID-19 era. And in terms of product diversity,

 6   Amazon sells twelve million products on the Amazon.com platform, with a particularly large range of

 7   consumer goods.114 In 2018, it was estimated that Amazon had 1.5 billion items listed for sale and over

 8   200 million users.115

 9               90.   On March 4, 2020, Senator Edward J. Markey (D-Massachusetts) wrote a letter to

10   Amazon CEO Jeff Bezos about reports of price gouging on Amazon.116 He stated that “[i]nternet-based

11   retailers such as Amazon.com have a particular responsibility to guard against price gouging in current

12   circumstances as consumers—who are finding the shelves of local brick-and-mortar stores bare, and

13   who may wish to avoid venturing into crowded stores and shopping malls—turn to the internet.”117

14   Consistent with Senator Markey’s observation, and heeding the official guidance described above,

15   consumers turned to Amazon—the world’s dominant online retailer—throughout the pandemic to

16   obtain the goods they required to survive and endure.

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18   112
           See Facteus, Facteus Insight Report on Consumer Spending and Transactions (FIRST) (June 3,
           2020), https://first.facteus.com/reports/first-report-6-3-2020 (last visited Oct. 22, 2021).
19
     113
           See Blake Droesch, Amazon dominates US ecommerce, though its market share varies by category,
20         EMARKETER (Apr. 27, 2021), https://www.emarketer.com/content/amazon-dominates-us-
           ecommerce-though-its-market-share-varies-by-category.
21
     114
           See     60pi,   How    Many     Products   Does      Amazon®        Carry? (May    2016),
22         https://0ca36445185fb449d582-f6ffa6baf5dd4144ff990b4132ba0c4d.ssl.cf1.rackcdn.com/
           IG_360piAmazon_9.13.16.pdf; Amazon store directory, https://www.amazon.com/gp/site-
23         directory?ref_=nav_em_T1_0_2_2_36__fullstore (last visited July 2, 2020).
24   115
           See Neel Mehta et al., Amazon changes prices on its products about every 10 minutes – here’s how
           and why they do it, BUSINESS INSIDER (Aug. 10, 2018), https://www.businessinsider.com/amazon-
25         price-changes-2018-8.
26   116
           See Sen. Edward J. Markey, Letter to Jeffrey P. Bezos, Amazon.com, Inc. (Mar. 4, 2020),
           https://www.markey.senate.gov/imo/media/doc/letter%20to%20Bezos%20re%20coronavirus%2
27         0price-gouging.pdf (last visited July 2, 2020).
     117
28         Id.

     SECOND AMENDED CLASS ACTION COMPLAINT – 35
     010923-11/2753066 V1
 1   E.          Amazon Raised Prices Excessively During the COVID-19 Pandemic
 2               91.   As the world’s largest online retailer, Amazon maintains its own inventory of products,

 3   which it sells directly to consumers across the country. These Amazon-supplied products account for

 4   approximately 32 percent of the revenue from of all products sold on Amazon.118 In addition, Amazon

 5   sells products provided by third-party suppliers. These third-party product sales account for

 6   approximately 68 percent of the sales revenue on the Amazon.com platform.119

 7               92.   As the COVID-19 pandemic spread, Amazon’s prices for many essential goods spiked

 8   dramatically. In his March 4, 2020 letter to Amazon CEO Jeff Bezos, Senator Markey described

 9   “disturbing news reports of coronavirus-inspired price gouging on Amazon.com,” including that

10   bottles of Purell hand sanitizer, “typically sold for less than $10 per box,” were “listed at $400,” and

11   similarly inflated prices existed for face masks.120 Senator Markey explained that, as “first steps,”

12   Amazon had announced the prior week that it had removed listings for price gouging and reiterated

13   that third-party suppliers must comply with Amazon’s “fair pricing policies,” but that there had been

14   “continued reports of price gouging and a lack of transparency,” which left consumers exposed to

15   unfair trade practices.121 He referenced a third-party Amazon supplier whose goods were sold on

16   Amazon and described Amazon’s enforcement policy as “haphazard.”122

17               93.   On March 11, 2020, the United States Public Interest Research Group Education Fund

18   (“PIRG”) published a study showing that prices for half of certain public-health products sold on
19   Amazon—particularly, products in high demand during the COVID-19 crisis—had increased by more

20   than 50 percent in February above their 90-day average.123 These price increases were not limited to

21   products supplied by third parties. Of the essential products PIRG evaluated, nearly one in six supplied

22   by Amazon itself increased in price by more than 50 percent above the 90-day average.

23
     118
24         See eMarketer, supra note 108.
     119
           Id.
25
     120
           See Markey, supra note 116.
26   121
           Id.
27   122
           Id.
     123
28         See U.S. Pub. Interest Research Grp. Ed. Fund, supra note 9.

     SECOND AMENDED CLASS ACTION COMPLAINT – 36
     010923-11/2753066 V1
 1               94.   Referencing the PIRG study, attorneys general from 33 states sent Amazon a letter on

 2   March 25, 2020, calling on Amazon to eliminate price gouging on its platform. The attorneys general,

 3   including Washington’s, noted that “[a]s COVID-19 spreads throughout the country, it is especially

 4   important unscrupulous sellers do not take advantage of Americans by selling products at

 5   unconscionable prices.”124 The letter implored Amazon to take action to abide by and enforce “the

 6   nation’s consumer protection laws.”125

 7               95.   Other industry observers have analyzed Amazon’s pricing data and concluded that

 8   Amazon “doubled its own prices on essential goods as the COVID-19 pandemic grew between early

 9   January and mid-March [2020].”126 At one point in March 2020, observers noted, Amazon “listed a

10   four-pack of its own brand of toilet paper for $72.”127 Consumers confirmed these unconscionable

11   prices, reposting the listings online hoping to warn others that Amazon itself was “participating in

12   price gouging”:128

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21   124
           See Letter from 33 state attorneys general to Jeff Bezos (Mar. 25, 2020),
22         https://www.attorneygeneral.gov/wp-content/uploads/2020/03/03_25_2020_Multistate-letter.pdf.
     125
           Id.
23
     126
           See Adam Walser, Data shows Amazon raised prices during pandemic alongside sellers accused
24         of price gouging, ABC 10 NEWS (updated Mar. 28, 2020), https://www.10news.com/news/
           coronavirus/data-shows-amazon-raised-prices-during-pandemic-alongside-sellers-accused-of-
25         price-gouging.
26   127
           Id.
     128
27         See u/cpotter, Amazon themselves participating in price gouging. $72 for toilet paper., REDDIT
           (Mar. 14, 2020), https://www.reddit.com/r/mildlyinfuriating/comments/fiuwuo/amazon_
28         themselves_participating_in_price_gouging/.

     SECOND AMENDED CLASS ACTION COMPLAINT – 37
     010923-11/2753066 V1
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                 96.   A September 2020 study by Public Citizen confirmed that, “[w]hile the initial media
17
     and law enforcement focus of price gouging was on third-party sellers, . . . Amazon is directly selling
18
     items at significantly above the regular market price despite publicly stating that the company is
19
     fighting price gouging.”129 Public Citizen identified pandemic price increases by Amazon on its own
20
     inventory that ranged from 48% to 1,010%.130 The study concluded that “Amazon has misled the
21
     public, law enforcement, and policymakers about price increases during the pandemic.”131 The study
22
     identified examples of price gouging as follows:
23
                       Note: All products in this section were listed as “sold by Amazon,” and not
24
                       sold by third-party vendors.
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26   129
           Public Citizen, supra note 10 at 12.
27   130
           Id.
     131
28         Id. at 4.

     SECOND AMENDED CLASS ACTION COMPLAINT – 38
     010923-11/2753066 V1
 1                    Figure 1: Examples of Price Gouging on Products Sold by Amazon
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              97.      Although certain offending listings have been removed, Plaintiffs’ independent
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     investigation has confirmed that Amazon sold products at unlawfully inflated amounts during the
19
     COVID-19 crisis, including before and after Amazon claimed to have cracked down on price gouging,
20
     and Amazon continues to do so. Moreover, these price increases occurred both on products supplied
21
     by third parties and on products supplied by Amazon.
22
              98.      Notably, both Mrs. King and Ms. Hanson were gouged on products supplied by
23
     Amazon directly. The Clorox Disinfecting Wipes that Mrs. King purchased at a 65% markup were
24
     supplied by Amazon (not a third party), as was the vegetable glycerin she purchased to make hand
25
     sanitizer (99% price increase). The flea spray that Ms. Hanson purchased at a 58% price increase was
26
     likewise supplied by Amazon. Additional examples of unconscionable price increases on Amazon’s
27
     own inventory abound, including the following:
28

     SECOND AMENDED CLASS ACTION COMPLAINT – 39
     010923-11/2753066 V1
 1            Aleve Back & Muscle Pain Tablet, Pain Reliever: Increased 233 percent, from $18.75 to
 2             $62.40, immediately after the January 31, 2020 declaration of a national emergency by the

 3             HHS.132

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27   132
           See https://camelcamelcamel.com/product/B07WDK2Z85 (last visited Oct. 22, 2021); see also
28         https://keepa.com/#!product/1-B07WDK2Z85 (last visited Oct. 22, 2021).

     SECOND AMENDED CLASS ACTION COMPLAINT – 40
     010923-11/2753066 V1
 1            Curad Alcohol Prep Pads: Increases of more than 157 percent, from less than $7 to $17.99,
 2             following the January 31, 2020 declaration of a national emergency by the HHS.133

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     133
28         See https://camelcamelcamel.com/product/B00KOSP454 (last visited Oct. 22, 2021).

     SECOND AMENDED CLASS ACTION COMPLAINT – 41
     010923-11/2753066 V1
 1            North 760008A Silicone Full Facepiece Respirators – Face Piece Only: Increases of 61
 2             percent, from $169.02 to $271.79, following the January 31, 2020 declaration of a national

 3             emergency by the HHS.134

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27   134
           See https://camelcamelcamel.com/product/B00142BRF0 (last visited Oct. 22, 2021);
28         https://keepa.com/#!product/1-B00142BRF0 (last visited Oct. 22, 2021).

     SECOND AMENDED CLASS ACTION COMPLAINT – 42
     010923-11/2753066 V1
 1            Faraon Black Beans, 4 lb: Increases up to 223 percent, from $4.98 to $16.07, following the
 2             January 31, 2020 declaration of a national emergency by the HHS.135

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27   135
           See https://camelcamelcamel.com/product/B07BBW3N81 (last visited Oct. 22, 2021);
28         see also https://keepa.com/#!product/1-B07BBW3N81 (last visited Oct. 22, 2021).

     SECOND AMENDED CLASS ACTION COMPLAINT – 43
     010923-11/2753066 V1
 1            Cold-EEZE Cold Remedy Lozenges Honey Lemon: Increases of 111 percent, from $4.68
 2             to $9.86 following the January 31, 2020 declaration of a national emergency by the HHS.136

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27   136
           See https://camelcamelcamel.com/product/B000KOPX4O (last visited Oct. 22, 2021);
28         see also https://keepa.com/#!product/1-B000KOPX4O (last visited Oct. 22, 2021).

     SECOND AMENDED CLASS ACTION COMPLAINT – 44
     010923-11/2753066 V1
 1            Lysol Disinfecting Wipes: Increases exceeding 86 percent, from less than $12 to $22.36,
 2             following the January 31, 2020 declaration of a national emergency by the HHS.137

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27   137
           See https://camelcamelcamel.com/product/B00Q70RCW6 (last visited Oct. 22, 2021);
28         see also https://keepa.com/#!product/1-B00Q70RCW6 (last visited Oct. 22, 2021).

     SECOND AMENDED CLASS ACTION COMPLAINT – 45
     010923-11/2753066 V1
 1            Germ Guardian Pluggable Air Purifier & Sanitizer: Increases of 91 percent, from $34.99
 2             to $66.99, following the January 31, 2020 declaration of a national emergency by the HHS.138

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               99.     Additional excessive price increases on Amazon’s own inventory of products following
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     the HHS’ declaration of a national emergency include, but are not limited to, the following:
17
                            OTHER PRICE INCREASES ON AMAZON INVENTORY
18                                 DURING THE COVID-19 PANDEMIC

19              PRODUCT                                                      PRICE INCREASE
20              Clorox Hydrogen Peroxide Disinfecting Wipes                              217%139
21              Curad Alcohol Prep Pads                                                  176%140

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     138
           See https://camelcamelcamel.com/product/B000G2BESO (last visited Oct. 22, 2021);
25         see also https://keepa.com/#!product/1-B000G2BESO (last visited Oct. 22, 2021).
26   139
           See https://camelcamelcamel.com/product/B00K3U1B64 (last visited June 30, 2021);
           see also https://keepa.com/#!product/1-B00K3U1B64 (last visited Oct. 22, 2021).
27   140
           See https://keepa.com/#!product/1-B00KOSP454 (last visited Oct. 22, 2021);
28         see also https://camelcamelcamel.com/product/B00KOSP454 (last visited Oct. 22, 2021).

     SECOND AMENDED CLASS ACTION COMPLAINT – 46
     010923-11/2753066 V1
 1              Cottonelle Flushable Wet Wipes                                                156%141
                Dynarex Alcohol Prep Pad                                                      122%142
 2              GoYoga Yoga Mat                                                               ~99%143
 3              Hibiclens Antibacterial / Antiseptic Skin Cleanser                             97%144
                Aleve Arthritis Cap Pain Relief                                               ~90%145
 4              Meyenberg Whole Powdered Goat Milk                                             82%146
                Spectrum Essential Organic Ground Flaxseed                                     66%147
 5              StarKist Chunk Light Tuna in Water                                             59%148
 6              Ice Mountain 199% Natural Spring Water                                         54%149
                Medline Iodine Pads                                                           ~52%150
 7              KIND Bars, Dark Chocolate Nuts & Sea Salt                                      36%151
                Tide PODS Free and Gentle Laundry Detergent                                    30%152
 8              3M Full Facepiece Reusable Respirator 6700                                     23%153
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11   141
           See https://camelcamelcamel.com/product/B07B46WWN2 (last visited July 4, 2020). Price
12         increase estimated based on data available July 4, 2020. Pricing history for this product is no longer
           available on camelcamelcamel.com.
13   142
           See https://keepa.com/#!product/1-B005BFL0RQ (last visited Oct. 22, 2021);
14         see also https://camelcamelcamel.com/product/B005BFL0RQ (last visited Oct. 22, 2021).
     143
           See https://camelcamelcamel.com/product/B01IZDFWY2 (last visited Oct. 22, 2021).
15   144
           See https://keepa.com/#!product/1-B00EV1D79A (last visited Oct. 22, 2021);
16         https://camelcamelcamel.com/product/B00EV1D79A (last visited Oct. 22, 2021).
     145
17         See https://camelcamelcamel.com/Aleve-Arthritis-Naproxen-Reliever-Headache/product/
           B07ZV5V19T (last visited Oct. 22, 2021).
18   146
           See https://keepa.com/#!product/1-B004K69OMU (last visited Oct. 22, 2021);
19         https://camelcamelcamel.com/product/B004K69OMU (last visited Oct. 22, 2021).
     147
           See https://keepa.com/#!product/1-B00DOKFLYI (last visited Oct. 22, 2021);
20         see also https://camelcamelcamel.com/product/B00DOKFLYI (last visited Oct. 22, 2021).
     148
21         See https://keepa.com/#!product/1-B00FWUO2IE (last visited Oct. 22, 2021).
     149
22         See https://keepa.com/#!product/1-B01KCNJHYO (last visited Oct. 22, 2021);
           see also https://camelcamelcamel.com/Ice-Mountain-Natural-8-ounce-plastic/product/
23         B01KCNJHYO (last visited Oct. 22, 2021).
     150
24         See https://camelcamelcamel.com/product/B075KKP2BR (last visited Oct. 22, 2021).
     151
           See https://keepa.com/#!product/1-B07PMTGM3C (last visited Oct. 22, 2021);
25         https://camelcamelcamel.com/product/B07PMTGM3C (last visited Oct. 22, 2021).
26   152
           See https://keepa.com/#!product/1-B07JMK7STT (last visited Oct. 22, 2021);
           see also https://camelcamelcamel.com/product/B07JMK7STT (last visited Oct. 22, 2021).
27   153
           See https://keepa.com/#!product/1-B007JZ1K1C (last visited Oct. 22, 2021);
28         see also https://camelcamelcamel.com/product/B007JZ1K1C (last visited Oct. 22, 2020).

     SECOND AMENDED CLASS ACTION COMPLAINT – 47
     010923-11/2753066 V1
 1             100.    In addition to increasing prices on its own inventory during the COVID-19 pandemic,

 2   Amazon sold third-party-supplied products at vastly inflated prices and, by taking a share of the

 3   transaction proceeds, profited from the excess. Just by way of example:

 4            Disposable 3-Layer Face Masks: Increase of 1,800 percent, from $4.21 to $79.99, following
 5             the January 31, 2020 declaration of a national emergency by the HHS.154

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     154
28         See https://camelcamelcamel.com/product/B07W13JQW9 (last visited Oct. 22, 2021).

     SECOND AMENDED CLASS ACTION COMPLAINT – 48
     010923-11/2753066 V1
 1            Arm & Hammer Pure Baking Soda, 5 lb.: Increase of 1,523 percent, from $3.08 to $50.00
 2             following the January 31, 2020 declaration of a national emergency by the HHS.155

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              Dynarex Corporation Surgical Procedure Masks: Increase of 376 percent, from $11.71 to
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               $55.78, following the January 31, 2020 declaration of a national emergency by the HHS.156
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26   155
           See https://keepa.com/#!product/1-B00HNSJSX2 (last visited Oct. 22, 2021).
     156
27         See https://camelcamelcamel.com/Dynarex-Corporation-2201-50-Surgical-Procedure/product/
           B00QO4MKN6 (last visited Oct. 22, 2021). Base price of $11.71 identified on
28         camelcamelcamel.com as of July 4, 2020.

     SECOND AMENDED CLASS ACTION COMPLAINT – 49
     010923-11/2753066 V1
 1            Disposable Earloop Face Masks: Increases exceeding 500 percent, from less than $20 to
 2             $120, following the January 31, 2020 declaration of a national emergency by the HHS.157

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15            Cold-EEZE Cold Remedy Lozenges Honey Lemon: Increases of 1,599 percent, from less

16             than $4.65 to $79.00, following the January 31, 2020 declaration of a national emergency by

17             the HHS.158

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26   157
           See https://camelcamelcamel.com/product/B078718WVB (last visited Oct. 22, 2021). Base price
           of less than $20 identified on camelcamelcamel.com as of July 4, 2020.
27   158
           See https://keepa.com/#!product/1-B000KOPX4O (last visited Oct. 22, 2021);
28         vsee also https://camelcamelcamel.com/product/B000KOPX4O (Oct. 22, 2021).

     SECOND AMENDED CLASS ACTION COMPLAINT – 50
     010923-11/2753066 V1
 1
              Goya Black Beans Dry 14 oz.: Increases up to 521 percent, from $3.54 to $21.99, following
 2
               the January 31, 2020 declaration of a national emergency by the HHS.159
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     159
27         See https://keepa.com/#!product/1-B00IMLRH9G (last visited Oct. 22, 2021). Amazon also sold
           its own inventory of this product in 2020 at prices up to $14.47, roughly four times the price
28         prevailing prior to the pandemic. See id.

     SECOND AMENDED CLASS ACTION COMPLAINT – 51
     010923-11/2753066 V1
 1            King Arthur Flour: Increases up to 400 percent, from $22.00 to $110.00, following the
 2             January 31, 2020 declaration of a national emergency by the HHS.160

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     160
           See https://camelcamelcamel.com/product/B078P9TBNW (last visited Oct. 22, 2021); see also
26
           https://keepa.com/#!product/1-B078P9TBNW (last visited Oct. 22, 2021). Amazon sold its own
27         inventory of this product during 2020 at prices exceeding $70, roughly three times the pre-
           pandemic price. See https://camelcamelcamel.com/product/B078P9TBNW (last visited Oct. 22,
28         2021).

     SECOND AMENDED CLASS ACTION COMPLAINT – 52
     010923-11/2753066 V1
 1            Logitech HD Pro Webcam C920: Increase of at least 423 percent, from less than $65.99 to
 2             $345, following the January 31, 2020 declaration of a national emergency by the HHS.161

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27   161
           See https://camelcamelcamel.com/product/B006JH8T3S (last visited Oct.22, 2021);
28         see also https://keepa.com/#!product/1-B006JH8T3S (last visited Oct. 22, 2021).

     SECOND AMENDED CLASS ACTION COMPLAINT – 53
     010923-11/2753066 V1
 1            Ivermectin: Although not approved by the FDA or WHO 9, the antiparasitic drug Ivermectin
 2             has been promoted in certain circles as a treatment for COVID-19 and an alternative to

 3             vaccines. Demand for the drug increased in 2021, and prices on Amazon skyrocketed.

 4             For example, an injectable solution of Ivermectin manufactured by Noromectin was available

 5             on Amazon for $93.54 when, on January 31, 2020, the HHS declared a national emergency.

 6             By September of 2021, the price had reached $200, a 114 percent increase.162

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               101.    Additional excessive price increases on third-party supplied Amazon sales include, but
20
     are not limited to, the following:
21
           OTHER PRICE INCREASES ON THIRD-PARTY-SUPPLIED PRODUCTS DURING
22                             THE COVID-19 PANDEMIC
23
                                      PRODUCT                                         PRICE INCREASE
24
      Quilted Northern Ultra Plush Toilet Paper 18 Rolls                                         1,044%163
25

26   162
           See https://camelcamelcamel.com/product/B078YFPF64?context=search (last visited Oct. 22,
           2022); see also https://keepa.com/#!product/1-B078YFPF64 (last visited Oct. 22, 2022).
27   163
           See https://keepa.com/#!product/1-B07F1KLYVH (last visited Oct. 22, 2021);
28         see also https://camelcamelcamel.com/product/B07F1KLYVH (last visited Oct. 22, 2021).

     SECOND AMENDED CLASS ACTION COMPLAINT – 54
     010923-11/2753066 V1
 1    Nishiki Medium Grain Rice                                                                880%164
      Lysol Disinfecting Wipes                                                                ~745%165
 2    Advil Coated Tablets Pain Reliever and Fever Reducer                                     656%166
 3    Curad Alcohol Prep Pads                                                                  542%167
      StarKist Chunk Light Tuna in Water                                                       517%168
 4    Kraft Easy Mac Microwavable Macaroni and Cheese                                          485%169
      Barilla Pasta, Spaghetti                                                                 381%170
 5    Planters Salted Peanuts (48 Pack)                                                        368%171
 6    Almond Milk                                                                              330%172
      Kraft Macaroni & Cheese                                                                  315%173
 7    Bounty Select-A-Size Paper Towels                                                        319%174
      Chef Boyardee, Spaghetti & Meatballs                                                     295%175
 8    Asian Best Jasmine Rice                                                                  255%176
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     164
           See https://keepa.com/#!product/1-B00852ZN2U (last visited Oct. 22, 2021);
11         see also https://camelcamelcamel.com/product/B00852ZN2U (last visited Oct. 22, 2021).
12   165
           See https://camelcamelcamel.com/product/B00Q70RCW6 (last visited Oct. 22, 2021);
           see also https://keepa.com/#!product/1-B00Q70RCW6 (last visited Oct. 22, 2021).
13   166
           See https://keepa.com/#!product/1-B0000VLK4O (last visited Oct. 22, 2021);
14         see also https://camelcamelcamel.com/product/B0000VLK4O (last visited Oct. 22, 2021).
     167
15         See https://keepa.com/#!product/1-B00KOSP454 (last visited Oct. 22, 2021);
           see also https://camelcamelcamel.com/product/B00KOSP454 (last visited Oct. 22, 2021).
16   168
           See https://keepa.com/#!product/1-B00FWUO2IE (last visited Oct.22, 2021).
17         https://camelcamelcamel.com/product/B00FWUO2IE (last visited Oct. 22, 2021).
     169
           See https://keepa.com/#!product/1-B005ECO3H0 (last visited Oct. 22, 2021);
18         see also https://camelcamelcamel.com/product/B005ECO3H0 (last visited Oct. 22, 2021).
19   170
           See https://keepa.com/#!product/1-B00WBGKJPW (last visited Oct. 22, 2021);
           see also https://camelcamelcamel.com/product/B00WBGKJPW (last visited Oct. 22, 2021).
20   171
           See https://keepa.com/#!product/1-B004TPU7LO (last visited Oct.22, 2021);
21         see also https://camelcamelcamel.com/product/B004TPU7LO (last visited Oct. 22, 2021).
     172
22         See https://keepa.com/#!product/1-B07HL1NRGQ (last visited Oct. 22, 2021);
           see also https://camelcamelcamel.com/product/B07HL1NRGQ (last visited Oct. 22, 2021).
23   173
           See https://keepa.com/#!product/1-B011W21U0I (last visited Oct. 22, 2021);
24         see also https://camelcamelcamel.com/product/B011W21U0I (last visited Oct. 22, 2021).
     174
           See https://keepa.com/#!product/1-B010OW4KMW (last visited Oct. 22, 2021);
25         see also https://camelcamelcamel.com/product/B010OW4KMW (Oct. 22, 2021).
26   175
           See https://keepa.com/#!product/1-B004XVZG1U (last visited Oct. 22, 2021);
           see also https://camelcamelcamel.com/product/B004XVZG1U (last visited Oct. 22, 2021).
27   176
           See https://keepa.com/#!product/1-B019VPL9OK (last visited Oct. 22, 2021);
28         see also https://camelcamelcamel.com/product/B019VPL9OK (last visited Oct. 22, 2021).

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 1    Raven Powder-Free Disposable Black Nitrile 6 Mi. Gloves                                        230%177
      Kirkland Signature Dried Cherries, 20 Ounce                                                    153%178
 2    Better Than Bouillon Organic Chicken Base                                                      119%179
 3    Elder Berry Whole, dried 1lb                                                                    67%180
      Kirkland Signature Ibuprofen Liquid Softgels                                                    66%181
 4
     F.       Amazon is Responsible for Unlawful Price Increases on All Products Sold on Its
 5            Platform
 6            102.     Amazon is accountable for unlawfully increasing the prices on its own inventory of

 7   products sold or offered to consumers during the COVID-19 crisis. Amazon is also legally responsible

 8   for price gouging on the third-party products it markets to consumers. Far from serving as a passive

 9   intermediary, Amazon controls the sale and marketing of all third-party products on its platform and

10   receives a portion of the transaction proceeds, typically around 15 percent of the sales price (in addition

11   to assessing recurring fees on third-party suppliers).182

12            103.     Amazon’s control over third-party products extends to pricing. For certain third-party

13   products, Amazon retains complete control of the prices at which they are offered. In particular, third-

14   party suppliers who enroll in Amazon’s “Sold by Amazon” (“SBA”) program are guaranteed a “hands

15   off the wheel selling experience,” through which Amazon retains absolute discretion to price and

16   reprice third-party inventory however Amazon sees fit. In the SBA program, the third-party supplier

17   is guaranteed revenue from the sale of its product on Amazon.com based on the Minimum Gross

18   Proceeds (“MGP”) price, which Amazon sets unilaterally. Moreover, whatever the MGP price may be,
19

20   177
           See https://keepa.com/#!product/1-B002XXO5US (last visited Oct. 22, 2021);
21         see also https://camelcamelcamel.com/product/B002XXO5US (last visited Oct. 22, 2021).
     178
22         See https://keepa.com/#!product/1-B004CSGRS0 (last visited Oct. 22, 2021);
           see also https://camelcamelcamel.com/product/B004CSGRS0 (last visited Oct. 22, 2021).
23   179
           See https://keepa.com/#!product/1-B00415IRQO (last visited Oct. 22, 2021);
24         see also https://camelcamelcamel.com/product/B00415IRQO (last visited Oct. 22, 2021).
     180
           See https://keepa.com/#!product/1-B076JMVSW5 (last visited Oct. 22, 2021);
25         see also https://camelcamelcamel.com/product/B076JMVSW5 (last visited Oct. 22, 2021).
26   181
           See https://keepa.com/#!product/1-B000VK2QPQ (last visited Oct. 22, 2021);
           see also https://camelcamelcamel.com/product/B000VK2QPQ (last visited Oct. 22, 2021).
27   182
           See Dave Hamrick, Amazon FBA Fees: How They Work and How to Profit as a Seller,
28         JUNGLESCOUT (Mar. 24, 2021), https://www.junglescout.com/blog/amazon-fba-fees/.

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 1   the price listed for and sold to the Amazon consumer is set solely by Amazon, and may be more or less

 2   than the MGP price—it is controlled by Amazon.183

 3             104.    In other cases involving “large or strategic” third-party suppliers, Amazon also

 4   negotiates all pricing terms,184 or negotiates most-favored-nation protections assuring that third-party

 5   suppliers do not undercut Amazon’s prices when offering their products through other retail outlets.185

 6             105.    Amazon also offers third-party suppliers “Automated Pricing” services, whereby

 7   Amazon will automatically adjust the prices for third-party-supplied products based on preset “rules”

 8   Amazon makes available to the suppliers.186 With Automated Pricing, Amazon generally adjusts the

 9   pricing of third-party products to match or stay in some relationship to competitor prices. 187 This

10   service coordinates pricing across Amazon’s platform. If competitive benchmarks increase for any

11   reason—including price gouging—Amazon adjusts all automatically priced products accordingly

12   across its ecosystem. If Amazon were concerned that certain products supplied by third parties were

13   being inflated compared to pre-emergency prices, it could have turned off its automatic repricing

14   software that set prices for specific products and sales beyond lawful limits.

15             106.    Even in instances where third-party suppliers retain some authority to set prices,

16   Amazon establishes the price ceiling and retains the ultimate right to reject a price. Amazon has a “fair

17   pricing policy” pursuant to which it “regularly monitors the prices” set by third-party suppliers.188 If

18   Amazon identifies a price it considers too high relative to other prices (on or off Amazon’s platform),
19
     183
20         See John Robb, The Amazon SBA Program (aka Sold by Amazon.com), ECOMCREW (Jan. 2020),
           https://www.ecomcrew.com/the-amazon-sba-program-aka-sold-by-amazon/.
21   184
           See Online Platforms and Market Power, Part 2: Innovation and Entrepreneurship: Hearing of
22         the H. Subcomm. on Antitrust, Commercial, & Admin. Law, Comm. on the Judiciary, 116th Cong.
           23 (July 16, 2019) (responses of Amazon to Questions for the Record), https://docs.house.gov/
23         meetings/JU/JU05/20190716/109793/HHRG-116-JU05-20190716-SD038.pdf.
     185
24         See id. at 1.
     186
           See Amazon, Create a Pricing Rule, https://sellercentral.amazon.com/gp/help/external/help-
25         page.html?itemID=201995750 (last visited July 1, 2021).
26   187
           See id.
     188
27         See Amazon, Amazon Marketplace Fair Pricing Policy,
           https://sellercentral.amazon.com/gp/help/external/G5TUVJKZHUVMN77V (last visited July 1,
28         2021).

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 1   Amazon may, among other things, remove the offer or suspend the seller.189 Amazon may also remove

 2   the product from the “Buy Box” (discussed infra), the vehicle through which nearly all Amazon

 3   products are sold.190 Amazon also polices the price ceiling by suggesting that third-party sellers lower

 4   their prices.191 In other instances, Amazon will unilaterally reduce the price of third-party-supplied

 5   products by providing the consumer with a “discount, which appears as a credit” in the consumer’s

 6   account.192 These “discounts” are provided exclusively by Amazon, not the third-party supplier.

 7             107.    Beyond pricing, Amazon controls all other aspects of transactions involving third-

 8   party-supplied products. Consumers who purchase third-party products generally have no direct

 9   interaction with the third-party suppliers. Amazon promotes the products on its website, the contents

10   of which Amazon controls entirely. Pursuant to the Amazon Services Business Solutions Agreement,

11   which third-party suppliers are required to sign to have their products sold on Amazon.com, “Amazon

12   has the right to determine, the design, content, functionality, availability and appropriateness of its

13   websites, selection, and any product or listing in the Amazon Stores, and all aspects of each Service,

14   including [a third-party supplier’s] use of the same. Amazon may assign any of these rights or delegate

15   any of its responsibilities.”193 The Agreement also grants Amazon a royalty-free, non-exclusive,

16   worldwide right and license to commercially or non-commercially exploit in any manner the

17   information provided by third-party suppliers.194

18             108.    When a consumer purchases a third-party supplied product, Amazon collects the order,
19   shipping, and payment information from the customer, and it processes all payments. Amazon

20   maintains the right to use mechanisms to rate, or allow shoppers to rate, these products and suppliers

21

22

23   189
           See id.
24   190
           See id.; see also H. Subcomm. on Antitrust, Commercial, & Admin. Law, supra note 184, at 23.
     191
25         See H. Subcomm. on Antitrust, Commercial, & Admin. Law, supra note 184, at 1-2.
     192
26         See id. at 25.
     193
           See Amazon, Amazon Services Business Solutions Agreement at S-6,
27         https://sellercentral.amazon.com/gp/help/external/G1791 (last visited July 1, 2021).
     194
28         See id. at 4.

     SECOND AMENDED CLASS ACTION COMPLAINT – 58
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 1   and to make the ratings publicly available, which it frequently does at the time the consumer is

 2   considering purchase.195

 3             109.    Most third-party-supplied products sold by Amazon are “Fulfilled by Amazon” or

 4   “FBA.” This means Amazon warehouses the products at its own storage facilities. Amazon maintains

 5   electronic records tracking this inventory, which it can commingle with its own.196 When a customer

 6   orders an FBA product, Amazon packages and ships the product directly, while handling customer

 7   service aspects of the transaction.197 Amazon handles returns and reserves the right to fulfill customer

 8   returns with any “returned Amazon Fulfillment Units.”198 Amazon unilaterally determines which

 9   products may participate in the FBA program.199

10             110.    Amazon also reserves “sole discretion” to “cancel[]” listings of third-party suppliers’

11   products or “remov[e]” suppliers’ listing privileges for violation of Amazon policies,200 to permanently

12   “withhold any payments” to suppliers for engaging in, inter alia, “illegal activity” or repeated

13   violations of Amazon’s “Program policies,”201 and to “accept, calculate, and process cancellations,

14   returns, refunds, and adjustments for the benefit of customers.”202 Amazon prohibits third-party

15   suppliers from sending unsolicited communications to customers, mandates that all communications

16

17

18
19
     195
20         See id. at S.1.2.
     196
21         See id. at F-4.
     197
           See JungleScout, The State of the Amazon Seller 2021 at 14, available at
22         https://www.junglescout.com/amazon-seller-report/ (last visited July 1, 2021); see also
           generally Amazon Services Business Solutions Agreement, Fulfillment By Amazon Service
23
           Terms, supra note 193.
24   198
           See Amazon Services Business Solutions Agreement, supra note 193, at F-6.2.
     199
25         See id. at F-1.
     200
26         See Amazon, Listing Restrictions, https://sellercentral.amazon.com/gp/help/external/200832300
           (last visited July 1, 2021).
27   201
           See Amazon Services Business Solutions Agreement, supra note 193, at 2.
     202
28         See id. at S-2.2.

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 1   must be sent through a service provided on the Amazon platform, and Amazon keeps a record of all

 2   correspondence using this service.203

 3             111.      Amazon also controls the entire “shopping experience” on its platform, using

 4   proprietary ranking mechanisms to direct consumers to third-party products of Amazon’s choosing.

 5   When a consumer searches for a generic product on Amazon—for example, “bleach”—the search

 6   results are curated and ranked by Amazon.204 As any seller might, Amazon gives particular products

 7   prominence or “shelf space.” Amazon does this not only by ranking search results, but also by

 8   assigning products certain designations, such as “Sponsored,” or “Amazon’s Choice,” or “Best Seller,”

 9   or “Amazon Prime.”205 The criteria for these designations is established by Amazon and, through them,

10   Amazon places the weight of its brand behind particular third-party-supplied products.

11             112.      Amazon also determines which supplier will “win” particular transactions, effectively

12   allocating sales between itself and different third-party suppliers without any meaningful involvement

13   (or even knowledge) of the consumer. Specifically, from Amazon’s general search results page,

14   consumers can click on a particular product of interest and then are directed to a separate page for that

15   product. Many suppliers—including both Amazon and third-party suppliers—provide the same

16   products on Amazon and all of these suppliers share the same individual product page. Amazon pushes

17   consumers to particular suppliers through a “Buy Box” at the top right corner of the product page. The

18   Buy Box includes “Add to Cart” and “Buy Now” buttons for the supplier Amazon has chosen.206 Only
19   one supplier controls the Buy Box at any given point in time, and when users click the “Add to Cart”

20
     203
21         See Amazon, Selling Policies and Seller Code of Conduct, https://sellercentral.amazon.com/gp/
           help/external/help.html?itemID=G1801 (last visited July 1, 2021); Amazon, Buyer-Seller
22         Messaging Service Overview, https://sellercentral.amazon.com/gp/help/external/help.html?
           itemID=202125900 (last visited July 1, 2021). Amazon also requires that its third-party suppliers
23         release it and agree to indemnify, defend, and hold it harmless against any claim, loss, damage,
24         settlement, cost, expense, or other liability arising from, inter alia, sales of the suppliers’ products.
           See Amazon Services Business Solutions Agreement, supra note 193, at 6.1.
25   204
           Janger & Twerski, The Heavy Hand of Amazon: A Seller Not a Neutral Platform, 14 BROOKLYN J.
26         CORP., FIN & COMM. LAW 259 (Oct. 2019), https://brooklynworks.brooklaw.edu/bjcfcl/vol14/
           iss2/3/.
27   205
           Id. at 264-65.
     206
28         Id. at 268.

     SECOND AMENDED CLASS ACTION COMPLAINT – 60
     010923-11/2753066 V1
 1   or “Buy Now” button, they are buying from that Amazon-selected supplier.207 Over 90 percent of sales

 2   on Amazon occur using the Buy Box.208

 3               113.    Amazon allocates shares of the Buy Box such that the chosen supplier can change

 4   throughout the day. Thus, a consumer who clicks “Add to Cart” for a particular product at 6:00 a.m.

 5   may be purchasing a product supplied by Supplier X, while a consumer who clicks the same button

 6   for the same product at 6:30 a.m. may be purchasing a product from Supplier Y, or a product supplied

 7   by Amazon itself.209 Thus, not only does Amazon control which supplied products will win

 8   transactions, and how many transactions Amazon itself will supply, Amazon allocates these shares

 9   down to the minute.

10               114.    Text at the bottom of the “Buy Box” gives consumers some information as to who the

11   supplier may be. The text generally states either “(1) sold by [name of third party] and shipped by

12   [name of third party]; (2) sold by [name of third party] and fulfilled by Amazon; or (3) sold and shipped

13   by Amazon.” But the reality is that Amazon substitutes freely between suppliers after the sale. 210 As

14   noted above, most third-party-supplied products are “Fulfilled by Amazon” or “FBA.” By default,

15   Amazon warehouses FBA products by product type, not by supplier. Unless a supplier opts out of this

16   program, and Amazon makes it disadvantageous to do so, all products of the same type are

17   “commingled.”211 Accordingly, when a consumer purchases, for example, Clorox Disinfecting Wipes

18   from Amazon, Amazon will generally fulfill this order from its commingled stock of Clorox
19   Disinfecting Wipes regardless of what “supplier” was identified at the time of sale. The actual product

20   the consumer receives could thus be one supplied by any third-party supplier, or by Amazon itself.

21   And again, Amazon choses whose product the consumer will receive without any input from the

22   consumer or third-party suppliers involved.

23

24   207
           See Leanna Zeibak, How to Win the Amazon Buy Box in 2021, TINUITI (Mar. 25, 2020),
           https://tinuiti.com/blog/amazon/win-amazon-buy-box/.
25
     208
           Id.
26   209
           Janger & Twerski, supra note 204, at 270.
27   210
           Id. at 269.
     211
28         Id.

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 1            115.     For all of the foregoing reasons, Amazon functions as the “seller” of all third-party-

 2   supplied products on its platform. At an absolute minimum, Amazon facilitates these sales. Not only

 3   does Amazon control pricing—either by fixing the price point or price ceiling—Amazon interacts

 4   directly with customers to execute transactions, promotes particular third-party-supplied products, and

 5   often fulfills orders from a commingled stock. Amazon controls the entire shopping experience on its

 6   platform, regardless of who supplies the products sold. Amazon is responsible when it sells third-party-

 7   supplied products at prices that exceed legal prohibitions on price gouging. Nothing is sold on Amazon,

 8   at any price, without Amazon’s active participation and facilitation.

 9            116.     Amazon cannot deflect blame on third parties for a separate but related reason—

10   Amazon knew third-party suppliers would increase prices by unconscionable amounts during the

11   pandemic, and knowingly allowed it to happen.

12            117.     As Amazon is aware, third-party suppliers have previously inflated prices to unlawfully

13   capitalize on emergencies, most prominently during Hurricane Irma in 2017.212 Moreover, wherever

14   COVID-19 spread, it led to scarcity of essential consumer items and substantial price inflation.

15   Amazon was on notice that the same dynamic would play out in the United States once the virus

16   reached its shores, or even sooner.

17            118.     Price inflation on third-party-supplied products was not only foreseeable; Amazon

18   knew that it was occurring in real time and has claimed to have longstanding rules and systems to
19   prevent and stop price gouging as a violation of its “fair pricing” policies (those claims, as shown in

20   this Second Amended Complaint, have been proven false). Amazon assiduously tracks pricing on its

21   platform to best position itself in the marketplace. Amazon thus knew that prices on third-party-priced

22   products were exceeding legal thresholds, often by unconscionable amounts. Amazon had an

23   obligation to prevent this from occurring, and to stop it once it occurred, which Amazon could readily

24

25

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     212
27         See Jennifer Calfas, Amazon Is Removing $100 Packs of Water After Being Accused of Hurricane
           Irma Price Gouging, MONEY (Sept. 7, 2017), https://money.com/amazon-bottled-water-price-
28         gouging-hurricane-irma-florida/.

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 1   do by capping prices or, where necessary, excising offending third-party suppliers. Amazon retains

 2   contractual authority to take these very steps.213

 3            119.     Amazon did not act, however, until late February 2020, when it first began to suspend

 4   and take down some (but not close to all) products priced excessively by third parties.214 Moreover,

 5   while Amazon’s actions made for good publicity, they did not effectively address—much less

 6   eliminate—the problem. Amazon continued to sell third-party priced products at unconscionably

 7   inflated prices, as the examples cited in this Second Amended Complaint demonstrate. Notably in this

 8   regard, after Amazon took its limited initial steps to address price gouging by third-party suppliers,

 9   Senator Markey commented on Amazon’s claim that it was addressing price gouging, writing on

10   March 4, 2020, that despite Amazon’s purported efforts, there had been “continued reports of price

11   gouging” on the platform.215

12            120.     As public outcry swelled, Amazon was compelled on March 23, 2020, to suspend 3,900

13   United States accounts associated with products Amazon offered at excessive prices.216 On that same

14   date, Amazon issued a blog post stating that it has “zero tolerance for price gouging” and claimed to

15   have had “longstanding policies and systems to prevent this harmful practice.”217 But those assertions

16   already had been proven false with the gouging ramping up and ongoing for months. And Amazon’s

17   actions, even at that point, were again inadequate. Just two days later, 33 attorneys general, including

18
     213
19         See Amazon Marketplace Fair Pricing Policy, supra note 188.
     214
20         See Annie Palmer, Amazon cracks down on coronavirus price gouging and products making false
           claims, CNBC (Feb. 27, 2020), https://www.cnbc.com/2020/02/27/amazon-cracks-down-on-
21         coronavirus-price-gouging-false-claims.html.
     215
22         See Markey, supra note 116.
     216
           See Josh Rivera, Amazon removes more than 3,900 seller accounts from US store due to
23         ‘coronavirus-based price gouging’, USA TODAY (updated Mar. 24, 2020),
           https://www.usatoday.com/story/money/2020/03/23/coronavirus-amazon-price-gouging-
24
           removed-accounts/2904729001/. In a letter to shareholders published on April 16, 2020, Amazon
25         CEO Jeff Bezos indicated that Amazon had suspended “more than 6,000 selling accounts
           globally.” Amazon Annual Report, Ex. 99.1 (2020), available at https://www.sec.gov/Archives/
26         edgar/data/1018724/000119312520108427/d902615dex991.htm. The letter did not specify how
           many of these accounts were operating in the United States, or whether that number is any greater
27         than the 3,900 United States accounts suspended previously.
     217
28         See Amazon, “Price gouging has no place in our stores,” supra note 1.

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     010923-11/2753066 V1
 1   Washington Attorney General Bob Ferguson, advised Amazon the “new protections” implemented by

 2   Amazon had “failed to remove unconscionably priced critical supplies during the COVID-19

 3   pandemic.”218

 4            121.     Amazon should have had adequate systems in place long before COVID-19 reached

 5   the United States to monitor and eliminate price gouging on its platform. As 33 attorneys general have

 6   advised, Amazon should not simply react to third-party price inflation—it should have policies to

 7   “prevent unconscionable price increases from occurring in the first place.”219 Amazon has the

 8   technology and sophistication to do this. In a May 13, 2020 blog post, Amazon acknowledged that it

 9   maintains “dynamic automated technology to proactively seek out and pull down unreasonably priced

10   offers.”220 Amazon did not, however, deploy this system proactively to prevent unlawful price

11   increases.

12            122.     Ultimately, the most troubling aspect of Amazon’s “efforts” to address third-party price

13   gouging is not that they came late, or were ineffectual, or that Amazon profited on these sales, all of

14   which is true; it is that while Amazon actively publicized these efforts, Amazon itself continued
15   to inflate prices on its own inventory of products in amounts that satisfy any definition of “price
16   gouging.”
17            123.     Amazon also cannot attribute the price increases on its platform—on either goods

18   supplied by third parties or Amazon itself—to increased costs. Putting aside that third parties’ costs
19   are not borne by Amazon, the price increases at issue, often topping 1000 percent, exceed any plausible

20   cost increase in supplying the price-gouged goods. With prices escalating on its platform, Amazon’s

21   overall profits—accounting for any cost increases—skyrocketed during the pandemic, jumping 220

22   percent in the first three month of 2021 over the year prior.221 In fact, the “high volume of orders during

23
     218
24         See Letter from 33 state attorneys general, supra note 124.
     219
           See id.
25
     220
           See Brian Huseman, Amazon Vice President of Public Policy, It’s time for Congress to establish
26         a federal price gouging law (May 13, 2020), https://blog.aboutamazon.com/policy/its-time-for-
           congress-to-establish-a-federal-price-gouging-law.
27   221
           See Karen Weise, NYT, Amazon’s profit soars 2020 percent as pandemic drives shopping online
28         (April 29, 2021), https://www.nytimes.com/2021/04/29/technology/amazons-profits-triple.html.

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 1   the pandemic [] let Amazon operate more efficiently.”222 As analysts have observed, Amazon was able

 2   to run its warehouses “closer to full capacity” such that while the number of products sold by Amazon

 3   increased 44 percent during the first year of the pandemic, its “cost to fulfill those orders was up only

 4   31 percent.”223

 5   G.          End of Emergency Lockdowns
 6               124.   In the fall of October 2022 Washington and other states began to end their COVID-19-

 7   related State of Emergency Orders. In May 2023, the Federal Public Health Emergency Order related

 8   to Covid-19 expired.

 9   H.          Amazon Price-Gouged Its Way to Unprecedented Revenues During the COVID-19
                 Crisis
10
                 125.   With rampant price gouging, Amazon has exploited unprecedented consumer demand
11
     during the COVID-19 pandemic to reap extraordinary profits. Amazon’s 2020 first-quarter net sales
12
     reached $75.5 billion, up 26 percent from the first quarter of 2019.224 This means that through the first
13
     quarter Amazon had generated $10,000 every second of every day in 2020. Amazon continued to profit
14
     throughout the pandemic. Its 2020 revenues were up 38%, an increase of more than $100 billion, and
15
     its net profits spiked a remarkable 84%.225
16
                 126.   Despite the stock market’s collapse in early 2020, there was never a better time to be
17
     an Amazon shareholder. As one leading analyst stated in April 2020:
18
                        [Amazon] has achieved a feat that many investors on Wall Street would
19                      regard as impossible in a stock market that’s fallen sharply off its highs
                        this year. Amazon’s shares have soared more than 40% in the past
20                      month alone to a new record high as of early afternoon trading on
21

22

23   222
           Id.
24   223
           Id.
     224
25         See Amazon, Press Release, Amazon.com Announces First Quarter Results (Apr. 30, 2020),
           https://s2.q4cdn.com/299287126/files/doc_financials/2020/Q1/Amazon-Q1-2020-Earnings-
26         Release.pdf.
     225
27         See Shelley E. Kohan, Amazon’s Net Profit Soars 84% With Sales Hitting $386 Billion, FORBES
           (Feb. 2, 2021), https://www.forbes.com/sites/shelleykohan/2021/02/02/amazons-net-profit-soars-
28         84-with-sales-hitting-386-billion/?sh=51d2e1b71334.

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 1                     Thursday, giving the company a market value of more than $1.2
                       trillion.226
 2
              127.     Jeff Bezos, Amazon’s president and CEO, has seen his personal fortune swell during
 3
     the COVID-19 pandemic. Among other assets, Mr. Bezos owns approximately an 11.2 percent stake
 4
     in Amazon. On April 14, 2020 alone, when Amazon stock surged more than 5 percent, Mr. Bezos’s
 5
     fortune grew by some $6.3 billion. Overall, Jeff Bezos’s personal wealth increased by $75 billion (or
 6
     approximately $205 million per day) as the pandemic raged throughout 2020.227
 7
                                    V.     CHOICE OF LAW ALLEGATIONS
 8
              128.     There is no actual conflict between Washington law and the laws of the states in
 9
     which Plaintiffs reside—namely, California, Arizona, and North Carolina—on the claims alleged
10
     herein. Price gouging is unlawful under statutes, and/or the common law, in each of these states.
11
              129.     Accordingly, Washington law can apply to Plaintiffs’ claims by virtue of a Washington
12
     choice-of-law provision that is set forth in “conditions of use” that appear on Amazon’s website. These
13
     conditions of use are available to consumers when they sign up for an Amazon account and make
14
     subsequent purchases. In pertinent part, the choice-of-law clause contained in the conditions of use
15
     provides:
16
                       By using any Amazon Service, you agree that applicable federal law,
17                     and the laws of the state of Washington, without regard to principles of
                       conflict of laws, will govern these Conditions of Use and any dispute of
18                     any sort that might arise between you and Amazon.
19                                   VI.    CLASS ACTON ALLEGATIONS
20            130.     Plaintiffs bring this proposed action on behalf of themselves and, pursuant to Rules
21   23(a), 23(b)(2) & 23(b)(3) of the Federal Rules of Civil Procedure, on behalf of the following class
22   (collectively, the “Class”):
23                     All persons who purchased any consumer good or food item, including
                       any listed on Appendix A, on Amazon.com between January 31, 2020
24                     and October 20, 2022 whose price was set at an unfair level. The
25

26
     226
           See Nathan Reiff, Amazon Earnings: What Happened, INVESTOPEDIA (updated July 30, 2020),
27         https://www.investopedia.com/amazon-earnings-4692665.
     227
28         See Taylor, supra note 4.

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 1                     precise identification of unfair prices and when they were in place will
                       be refined after discovery and expert analysis.
 2
              131.      This class definition is conservative because, by the time of the HHS’ January 31, 2020
 3
     emergency declaration, prices were already on the rise. Amazon was also aware long before January
 4
     31, 2020, that consumers were turning to online retail to safely obtain the consumer goods they
 5
     required.
 6
              132.     Plaintiffs reserve the right to revisit the Class definition as to the products in the Class
 7
     based upon information learned through discovery.
 8
              133.     Excluded from this proposed Class are Defendant; Defendant’s affiliates and
 9
     subsidiaries; Defendant’s current or former employees, officers, directors, agents, and representatives;
10
     and the district judge or magistrate judge to whom this case is assigned, as well as those judges’
11
     immediate family members.
12
              134.     This action may appropriately proceed as a class action because Plaintiffs seek
13
     injunctive relief that will apply to the Class as a whole and, further, because Plaintiffs will prove the
14
     elements of their damages claims with predominantly common evidence.
15
              135.     Numerosity: The proposed Class includes thousands (and potentially millions) of
16
     consumers who paid unlawfully inflated prices for products on Amazon.com. The members of this
17
     Class are so numerous that individual joinder of all class members is impracticable. The precise number
18
     of class members is not available to Plaintiffs at this time, but the number and identity of individual
19
     class members can be ascertained from Amazon’s books and records.
20
              136.     Commonality and Predominance: Numerous questions of law and fact are common
21
     to the claims of the Plaintiffs and members of the proposed Class, and these common questions
22
     predominate over any questions affecting only individual class members. These include, but are not
23
     limited to:
24
                       (a)    Whether Amazon inflated prices during the COVID-19 pandemic;
25
                       (b)    Whether those price increases were “unfair” under the WCPA;
26
                       (c)    Whether Amazon unlawfully increased prices on its own inventory of products;
27

28

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 1                     (d)    Whether Amazon is liable for price increases on products supplied by third-

 2                            parties;

 3                     (e)    Whether Amazon exercised reasonable care to monitor and prevent price

 4                            inflation by third-party Amazon suppliers;

 5                     (f)    Whether and the extent to which consumers were harmed by unlawful price

 6                            increases on Amazon, and the extent of their damages;

 7                     (g)    The extent to which Amazon was enriched unjustly;

 8                     (h)    Whether Amazon should be subjected to punitive damages, and the appropriate

 9                            amount; and

10                     (i)    Whether Plaintiffs are entitled to injunctive relief and the appropriate scope of

11                            any equitable decree.

12            137.     Typicality: Plaintiffs’ claims are typical of the claims of all class members because,
13   among other things, all class members were comparably and similarly injured by Amazon’s wrongful

14   conduct alleged herein. Plaintiffs, like all class members, purchased products from Amazon at prices

15   that were unlawfully inflated during the COVID-19 pandemic.

16            138.     Adequacy: Plaintiffs will represent and protect the interests of the proposed Class
17   adequately and fairly. Plaintiffs have retained counsel competent and experienced in complex

18   class-action litigation. Plaintiffs have no interests that are antagonistic to those of the proposed Class,
19   and their interests do not conflict with the interests of the proposed class members they seek to represent.

20            139.     Injunctive and declaratory relief: By way of the conduct described in this Second
21   Amended Class Action Complaint, Defendant has acted on grounds that apply generally to the

22   proposed Class. Accordingly, final injunctive relief or corresponding declaratory relief is appropriate

23   respecting the Class as a whole.

24            140.     Superiority: A class action is superior to all other available methods for the fair and
25   efficient adjudication of this controversy, and no unusual difficulties are likely to be encountered in its

26   management. Even if members of the proposed Class could sustain individual litigation, that course
27   would not be preferable to a class action because individual litigation would increase the delay and

28   expense to the parties due to the complex factual and legal controversies present in this matter. Here,

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 1   the class-action device will present far fewer management difficulties, and it will provide the benefit

 2   of a single adjudication, economies of scale, and comprehensive supervision by this Court. Further,

 3   uniformity of decisions will be ensured.

 4                                         VII.   CLAIMS FOR RELIEF
 5                                          FIRST CAUSE OF ACTION
 6           VIOLATION OF WASHINGTON CONSUMER PROTECTION ACT (“WCPA”)
                               (WASH. REV. CODE § 19.86)
 7
              141.     Plaintiffs repeat and re-make every allegation above as if set forth herein in full.
 8
              142.     The WCPA renders unlawful “[u]nfair methods of competition and unfair or deceptive
 9
     acts or practices in the conduct of any trade or commerce.” Wash. Rev. Code § 19.86.020.
10
              143.     Although the WCPA does not define what constitutes an “unfair” act or practice, the
11
     prohibition must “be liberally construed” to ensure “that its beneficial purposes may be served.” Id.
12
              144.     The conduct of Amazon described above is “in violation of the public interest,” and as
13
     such violates the WCPA.
14
              145.     The conduct of Amazon described above offended public policy or is immoral,
15
     unethical, oppressive or unscrupulous and therefore violates the WCPA.
16
              146.     Interpretation of the WCPA is informed, but not confined “by final decisions of the
17
     federal courts and final orders of the federal trade commission interpreting the various federal statutes
18
     dealing with the same or similar matters.” Id. Section 5(a) of the Federal Trade Commission Act (FTC
19
     Act) (15 U.S.C. § 45) likewise prohibits “[u]nfair or deceptive acts or practices in or affecting
20
     commerce.” An act or practice may be deemed unfair under the FTC Act if it “causes or is likely to
21
     cause substantial injury to consumers which is not reasonably avoidable by consumers themselves and
22
     not outweighed by countervailing benefits to consumers or to competition.” 15 U.S.C.A. § 45(n).
23
     Amazon’s conduct also violates this test as well.
24
              147.     A nationwide emergency related to COVID-19 was first declared by the HHS on
25
     January 31, 2020, and a national emergency existed by executive through May 11, 2023.228 This
26
27   228
           See HHS, supra note 5. On March 13, 2020, President Trump followed the Health and Human
28         Services Division by declaring a national emergency (effective March 1, 2020) pursuant to the

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 1   Second Amended Complaint’s January 31, 2020, cut-off date for price-gouging is conservative

 2   because public alarm and retail hoarding were occurring prior to the January 31, 2020 emergency

 3   declaration. Amazon knew no later than January 31, 2020 (and likely far earlier) that there was

 4   increased demand for online retail, and its services in particular. Amazon had a responsibility not to

 5   gouge consumers who turned to online retail increasingly as a means of obtaining essential goods

 6   safely during an escalating and alarming public health crisis.

 7            148.     Increasing prices excessively during a pandemic offends basic public policy and also is

 8   unethical, oppressive, and unscrupulous, and thus “unfair” for purposes of the WCPA. Indeed, it is

 9   difficult to imagine an act more unscrupulous than profiteering off a pandemic. As the Washington

10   Attorney General stated when imploring Amazon to address price-gouging on its platform, “[a]s

11   COVID-19 spreads throughout the country, it is important unscrupulous sellers do not take advantage

12   of Americans by selling products at unconscionable prices.”229

13            149.     Under the FTC Act framework, the price increases on the items listed in Appendix A

14   are unfair because they cause substantial consumer injury, particularly where, as here, the increases

15   were widespread, affecting potentially millions of consumers across the country and greatly affecting

16   the public interest. Consumers lacked reasonable means to avoid their injuries, as the exorbitant prices

17   they paid attest. And as detailed above, Plaintiffs looked elsewhere for the products they purchased, or

18   alternatives, and found none.
19            150.     There are no countervailing consumer or competition benefits to price gouging. The

20   only party that benefitted here was Amazon, which has reaped blockbuster profits by charging

21   excessive prices throughout the pandemic. These were illicit profits, earned only by exploiting

22

23         National     Emergencies’       Act.     See      85      Fed.     Reg.       15,337      (2020),
           https://www.federalregister.gov/documents/2020/03/18/2020-05794/declaring-a-national-
24
           emergency-concerning-the-novel-coronavirus-disease-covid-19-outbreak. On February 24, 2021,
25         President Biden extended the national emergency declaration for another year. See Pres. Joseph R.
           Biden, Jr., Letter to U.S. Congress (Feb. 24, 2021), https://www.whitehouse.gov/briefing-
26         room/statements-releases/2021/02/24/a-letter-on-the-continuation-of-the-national-emergency-
           concerning-the-coronavirus-disease-2019-covid-19-pandemic/.
27   229
           See https://oag.dc.gov/sites/default/files/2020-03/Price-Gouging-Multistate-Letter-Amazon.pdf
28         (last visited Oct. 21, 2021).

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 1   consumers who have been forced to rely on Amazon to obtain essential goods during this

 2   unprecedented public health crisis. Consumers do not “benefit” when they are forced to overpay for

 3   the goods they need to remain safe and healthy.

 4            151.     On information and belief, Amazon’s price increases were not directly attributable to

 5   additional costs imposed on Amazon by suppliers, and Amazon increased prices on many products in

 6   excessive and unfair amounts even when accounting for any additional costs and the markup Amazon

 7   customarily applies to such products.

 8            152.     Amazon sells, and facilitates the sale of, all products available on Amazon.com. Thus,

 9   Amazon is liable under the WCPA for all unlawful prices on its platform. This includes sales involving

10   Amazon’s own inventory of products. It also includes sales involving products supplied by third

11   parties. Consumers purchasing third-party-supplied products interact almost exclusively with Amazon,

12   which, functioning as the seller, controls virtually all aspects of the transaction, including by

13   establishing a price ceiling, in many cases setting the specific selling price below that ceiling, and

14   maintaining final authority to remove any product listing. Amazon promotes third-party-supplied

15   products on its platform, including by offering them for sale through its “Buy Box,” and otherwise

16   choosing to rank, curate, and give prominence to the sale of specific products. Amazon asserts effective

17   control over which supplied products will win transactions and how many products Amazon itself will

18   supply, and allocates these shares down to the minute. Amazon accepts payment when third-party-
19   supplied products are purchased and handles all material aspects of the transaction. As with any seller,

20   Amazon profits when it sells third-party-supplied products, collecting per-transaction and other fees.

21   And because Amazon’s fees are tied to the purchase price, Amazon profits directly when third-party

22   products are sold at higher prices.

23            153.     For all of these reasons, and as elaborated further herein, Amazon causes and is

24   responsible for all price-gouging on its platform, including sales (or sales offers) involving third-party-

25   supplied products.

26            154.     As a direct and proximate result of Amazon’s unfair business acts and practices,
27   Plaintiffs are entitled to injunctive relief and actual damages, trebled to the extent permitted under

28

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 1   Wash. Rev. Code § 19.86.090. Plaintiffs are also entitled to the cost of suit, including reasonable

 2   attorney’s fees.

 3                                        SECOND CAUSE OF ACTION
 4                                                 NEGLIGENCE
 5            155.     Plaintiffs repeat and re-make every allegation above as if set forth herein in full.

 6            156.     Amazon has a non-delegable duty to apply a level of reasonable care commensurate

 7   with the foreseeable harms arising from its control, maintenance, and management of the largest online

 8   retail platform in the world. This encompasses a duty to ensure that, during a declared public

 9   emergency, consumer goods or food items are not sold on the platform at excessive prices.

10            157.     As the COVID-19 crisis emerged in January 2020, and even prior, it was foreseeable

11   that third-party suppliers on Amazon would attempt to inflate prices excessively for many goods

12   essential to enduring and combatting the public health crisis. Such price inflation has occurred on

13   Amazon’s platform in prior emergencies, and was occurring wherever COVID-19 spread. Amazon

14   knew it would occur in response to COVID-19.

15            158.     Amazon has the ability, technological capacity, and contractual right to prevent price

16   gouging during a declared emergency. Amazon maintains complete control over its platform. It has

17   oversight on the prices of all products sold on the platform and, by contract with its third-party

18   suppliers, may unilaterally remove or suspend any listing priced excessively.
19            159.     Amazon, its agents, servants, and/or employees, failed to exercise ordinary care and

20   failed to comply with existing standards of care in the following acts and/or omissions:

21                           Failing to maintain and/or implement systems to detect and cap price increases
22                            by third-party suppliers;

23                           Listing products with excessive price increases during the COVID-19
24                            pandemic;

25                           Failing to adequately investigate reports of excessive price inflation on third-
26                            party-supplied products; and
27                           Facilitating the listing, sale, and delivery of products priced at excessive levels
28                            on its platform.

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 1            160.     Given the foreseeability of price gouging during the COVID-19 pandemic, a reasonable

 2   online retailer in Amazon’s position would have had systems in place to prevent price gouging from

 3   ever occurring, and would have taken prompt, aggressive steps to stamp it out entirely. Amazon did

 4   not do so. Despite Amazon’s vast resources and sophistication, it lacked or failed to implement systems

 5   to prevent unlawful price increases on third-party-supplied products, and the acts Amazon ultimately

 6   did take to address price gouging came far too late, and were ineffectual.

 7            161.     Amazon knew that, because of its failure to exercise reasonable care, consumers such

 8   as Plaintiffs would be overcharged.

 9            162.     Amazon’s negligence was the proximate cause and substantial factor in causing

10   Plaintiffs’ economic loss. Had Amazon exercised reasonable care, Plaintiffs would not have paid

11   excessive amounts for products they purchased from Amazon. Plaintiffs are entitled to compensatory

12   and equitable damages and declaratory relief in an amount to be proven at trial.

13                                         THIRD CAUSE OF ACTION
14                                           UNJUST ENRICHMENT
15            163.     Plaintiffs repeat and re-make every allegation above as if set forth herein in full.

16            164.     Amazon has exploited vulnerable consumers by selling, and offering for sale, products

17   at excessive prices during COVID-19 pandemic. Facing retail scarcity and official warnings as to the

18   risks of public interaction, consumers have turned to Amazon as a lifeline to obtain goods vital to their
19   safety, health, and well-being. Basic principles of equity, justice, and fair dealing, prohibit sellers from

20   capitalizing on such exigencies to charge consumers excessive prices.

21            165.     By selling consumer goods and food items at excessive and inflated prices during the

22   COVID-19 pandemic, Amazon was unjustly enriched. Amazon profited on both the sale of its own

23   inventory as well as products supplied by third parties, for which Amazon retains a portion of the

24   transaction proceeds. All of these inflated profits were conferred by Plaintiffs and the class they seek

25   to represent, and retained unjustly by Amazon.

26            166.     In selling goods at excessive prices during a public health crisis, Amazon knew that it
27   was overcharging consumers, that consumers would be harmed, and that by retaining the sale proceeds

28   Amazon would be unjustly enriched.

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 1               167.   Amazon has no contractual or other right to charge Plaintiffs’ or the proposed class the

 2   excessive prices identified in this Second Amended Complaint. Any contract purporting to authorize

 3   Amazon’s price gouging, as herein alleged, would be unenforceable and void.

 4            168.      In the event Plaintiffs lack an adequate remedy at law, Amazon is required to make

 5   restitution in equity pursuant to the common law of unjust enrichment.

 6                                             PRAYER FOR RELIEF
 7            WHEREFORE, Plaintiffs respectfully request the following relief on their own behalf and on

 8   behalf of all those similarly situated:

 9            A.        That the Court certify the proposed Class and appoint Plaintiffs as Class representatives

10   and their counsel as Class counsel;

11            B.        That the Court award them and the proposed Class all appropriate relief, to include, but

12   not be limited to, treble damages, restitution, and injunctive relief prohibiting Amazon from forever

13   engaging in the wrongful conduct alleged herein, which has harmed Plaintiffs, the Class, and the public

14   at large;

15            C.        That the Court grant such additional orders or judgments as may be necessary to remedy

16   or prevent the unlawful practices complained of herein;

17            D.        That the Court award them and the proposed Class reasonable attorneys’ fees, costs,

18   and pre- and post-judgment interest;
19            E.        That the Court impose punitive damages; and

20            F.        That the Court award them and the proposed Class such other, favorable relief as may

21   be available and appropriate under federal or state law, or at equity.

22                                           JURY TRIAL DEMANDED
23            Plaintiffs demand a trial by jury on all issues so triable.

24

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 1   DATED: September 20, 2024           Respectfully submitted,

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 1                                              APPENDIX A

 2                              PRODUCTS IN THE CLASS BEFORE
                            FURTHER DISCOVERY AND EXPERT ANALYSIS
 3

 4       3M Full Facepiece Reusable Respirator 6700

 5       Almond Milk

 6       Baking Soda, including Arm & Hammer Pure Baking Soda

 7       Barilla Pasta, Spaghetti

 8       Better Than Bouillon Organic Chicken Base

 9       Black Beans, including Faraon Black Beans, Goya Black Beans Dry 14 oz.

10       Bleach, including Clorox Concentrated Germicidal Bleach

11       Bottled water, including Ice Mountain 199% Natural Spring Water and Smartwater distilled
          water
12
         Chef Boyardee, Spaghetti & Meatballs
13
         Cold Remedies, including Cold-EEZE Cold Remedy Lozenges Honey Lemon
14
         Cottonelle Flushable Wet Wipes
15
         Curad Alcohol Prep Pads
16
         Disinfectant Wipes, including CaviWipes, Clorox Commercial Solutions Disinfecting Wipes,
          Clorox Hydrogen Peroxide Disinfecting Wipes, and Lysol Disinfecting Wipes
17

18       Disposable Gloves, including Raven Powder-Free Disposable Black Nitrile 6 Mi. Gloves

19       Dynarex Alcohol Prep Pad

20       Dynarex Corporation Surgical Procedure Masks

21       Elder Berry Whole, dried 1lb

22       Face Masks, including Disposable 3-Layer Masks, and Disposable Earloop Face Masks

23       Flour, including King Arthur Flour

24       Germ Guardian Pluggable Air Purifier & Sanitizer

25       GoYoga Yoga Mat

26       Hibiclens Antibacterial / Antiseptic Skin Cleanser

27       Ivermectin

28       KIND Bars, Dark Chocolate Nuts & Sea Salt

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 1       Kirkland Signature Dried Cherries, 20 Ounce
 2       Kraft Easy Mac Microwavable Macaroni and Cheese
 3       Kraft Macaroni & Cheese
 4       Logitech HD Pro Webcam C920
 5       Marachan Beef Ramen Noodles
 6       Medline Iodine Pads
 7       Meyenberg Whole Powdered Goat Milk
 8       North 760008A Silicone Full Facepiece Respirators – Face Piece Only
 9       Pain Relievers, including Advil Coated Tablets Pain Reliever and Fever Reducer, Aleve
          Arthritis Cap Pain Relief, Aleve Back & Muscle Pain Tablets, and Kirkland Signature Ibuprofen
10        Liquid Softgels

11       Paper Towels, including Bounty Select-A-Size Paper Towels
12       Planters Salted Peanuts (48 Pack)
13       Rice, including Asian Best Jasmine Rice, RiceSelect Jasmati Rice, and Nishiki Medium Grain
          Rice
14
         Spectrum Essential Organic Ground Flaxseed
15
         StarKist Chunk Light Tuna in Water
16
         Tide PODS Free and Gentle Laundry Detergent
17
         Toilet Paper, including Quilted Northern Ultra Plush Toilet Paper 18 Rolls
18
         Vegetable Glycerin, including NOW Solutions Vegetable Glycerin
19
         Yeast, including Red Star Active Dry Yeast
20
         Zodiac Flea & Tick Spray
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